      Case
       Case5:21-cv-00844-XR
            5:21-cv-00844-XR Document 800-11
                                      810-5 Filed 10/20/23
                                                  10/12/23 Page
                                                            Page51ofof39
                                                                       25
Nancy Crowther                                                                                                      June 17, 2022
                                                                                                                     Pages 6 to 9
                                                            Page 6                                                                Page 8
·1· ·get on to the meat and potatoes of the deposition.              ·1· · · Q.· Okay.· It also helps the court reporter if we
·2· · · · · Does that sound good?                                    ·2· ·don't talk over each other.· I feel like we've been
·3· · · A.· I'm ready.                                               ·3· ·doing a pretty good job of that so far, so I will do my
·4· · · Q.· Okay.· Have you been deposed before?                     ·4· ·best to let you answer a question before I try and ask
·5· · · A.· Yes.                                                     ·5· ·you something else, and I ask that you do the same for
·6· · · Q.· How many times?                                          ·6· ·me.
·7· · · A.· I don't know.                                            ·7· · · · · Does that make sense?
·8· · · Q.· Do you have a rough approximation?                       ·8· · · A.· It does.
·9· · · A.· At least once.                                           ·9· · · Q.· Okay.· If you don't understand the question, just
10· · · Q.· Twice?                                                   10· ·let me know.· If you do answer a question, I'm going to
11· · · A.· Maybe.                                                   11· ·assume that you understood the question.
12· · · Q.· Okay.· What was the one that you can recall that         12· · · · · Does that make sense?
13· ·you were disposed in?· What case was that?                      13· · · A.· It does, yes.
14· · · A.· It was a case against Texaco and gas stations,           14· · · Q.· Okay.· If you need a break at any point, just let
15· ·related to ADA compliance for helping people to pump gas        15· ·me know.· That's totally fine.· My only request is that
16· ·into their accessible vehicles for people in wheelchairs        16· ·if you're in the middle of answering the question, you
17· ·who could not reach the pumps, nor lift them, nor put           17· ·finish answering the question, then we can go off the
18· ·them in their vehicle.· And we won that lawsuit.· If            18· ·record and take a break.
19· ·you've been by any gas station, there's a label that            19· · · · · Is that okay?
20· ·says, If you need help, just honk.                              20· · · A.· Yes.
21· · · · · So that one is -- was a very memorable one.              21· · · Q.· Okay.· Mandatory question:· Are you aware of
22· · · Q.· So we have you to thank for that.· And what year         22· ·anything that would affect your ability to testify
23· ·was that?                                                       23· ·truthfully today?
24· · · A.· I don't know.· It was within the last 32 years.          24· · · A.· No.
25· · · Q.· Okay.                                                    25· · · Q.· And have you consumed any alcohol or drugs today?

                                                         Page 7                                                                  Page 9
·1· · · A.· I know that.                                             ·1· · · A.· No.
·2· · · Q.· Okay.· All right.· Thank you.                            ·2· · · Q.· Okay.· I'm going to start us off by introducing
·3· · · · · And any other cases that you've been involved in         ·3· ·our first exhibit of the day.· I'm going to be marking
·4· ·that you can remember, in which you've been deposed?            ·4· ·it as Exhibit 1.
·5· · · A.· I believe I was deposed in Yellow Cab suit with          ·5· · · · · If you flip to the second page, you'll see that
·6· ·Civil Rights Project.· They helped us with accessible           ·6· ·this is -- reads, "Plaintiff's Second Amended
·7· ·taxi service.                                                   ·7· ·Complaint."· Reads, "Plaintiffs Houston Justice, Houston
·8· · · Q.· And a rough sense of what year that was?                 ·8· ·Area Urban League, Delta Sigma Theta Sorority, Inc.,
·9· · · A.· No.                                                      ·9· ·The Arc of Texas, Mi Familia Vota, Marla López,
10· · · Q.· That's okay.                                             10· ·Marlon López, Paul Rutledge, and Jeffrey Lamar Clemmons
11· · · · · Any other ones you can think of?                         11· ·(collectively, “Plaintiffs”) file this Complaint for
12· · · A.· Not right off.                                           12· ·Declaratory and Injunctive Relief to challenge the
13· · · Q.· Okay.· You understand you're under oath today,           13· ·constitutionality and legality of Texas Senate Bill 1,
14· ·right?                                                          14· ·and allege
15· · · A.· Yes.                                                     15· ·as follows."
16· · · Q.· For the court reporter, especially since our             16· · · · · Did I read that correctly?
17· ·court reporter today is virtual -- she's on the                 17· · · · · · · ·(Exhibit 1 marked.)
18· ·computer -- it's especially important that you provide          18· · · A.· I didn't catch you.· I was looking up here.
19· ·"yes or no" answers rather than just nodding your head          19· · · Q.· (BY MR. HERBERT)· Oh, that's okay.· So the first
20· ·or shaking your head.· This also has a little extra             20· ·paragraph --
21· ·importance today, too, because we have, you know,               21· · · A.· Okay.
22· ·attorneys and other people participating remotely who,          22· · · Q.· -- it lists as plaintiffs The Arc of Texas, and
23· ·maybe they're just dialing in, and they can't see you.          23· ·it refers to challenging the constitutionality and
24· · · · · Does that make sense?                                    24· ·legality of Texas Senate Bill 1.
25· · · A.· It does.                                                 25· · · · · Did I represent that accurately?


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210-697-3400                                                                                                   210-697-3408                YVer1f
      Case
       Case5:21-cv-00844-XR
            5:21-cv-00844-XR Document 800-11
                                      810-5 Filed 10/20/23
                                                  10/12/23 Page
                                                            Page92ofof39
                                                                       25
Nancy Crowther                                                                                                      June 17, 2022
                                                                                                                   Pages 22 to 25
                                                           Page 22                                                              Page 24
·1· ·Page 4.· Let's look at Paragraph 9 of the Complaint.            ·1· ·the meaning of the ADA?
·2· · · · · It reads, "Each of the Plaintiffs named below has        ·2· · · A.· Yes, I do.
·3· ·members -- including REVUP members like                         ·3· · · Q.· Could you tell me the nature of your disability?
·4· ·Ruben Fernandez, Amy Litzsinger, and Laura Halvorson --         ·4· · · A.· I have a progressive neuromuscular disease that
·5· ·who are qualified individuals with                              ·5· ·makes me extremely weak, and it's progressive, so I'm
·6· ·disabilities within the meaning of the ADA because they         ·6· ·getting weaker as time goes by.· It -- I have all the
·7· ·have physical and/or mental impairments                         ·7· ·definitions of disability in accordance with the law,
·8· ·that substantially limit one or more of their major life        ·8· ·and more.· I do require assistance with an attendant and
·9· ·activities, including but not limited to 'caring                ·9· ·multiple mobility devices and durable medical equipment
10· ·for oneself, performing manual tasks, seeing, hearing,          10· ·to maintain my major life activities.
11· ·eating, sleeping, walking, standing, lifting,                   11· · · Q.· Can you tell me about some of the challenges to
12· ·bending, speaking, breathing, learning, reading,                12· ·your major life activities that you face and how you
13· ·concentrating, thinking, communicating, and/or                  13· ·deal with those challenges?
14· ·working.'"                                                      14· · · · · · · ·MS. SIFUENTES-DAVIS:· Objection, form.
15· · · · · Did I read that correctly?                               15· · · A.· I'll have to just take you through a day.· I need
16· · · A.· Yes, you did.                                            16· ·attendant services.· I use a hospital bed.· I can't sit
17· · · Q.· Okay.· Are you familiar with Ruben Fernandez --          17· ·up by myself, so my attendant helps me.· To go to the
18· ·strike that --                                                  18· ·bathroom, I need assistance in that form.· For getting
19· · · · · Do you know Ruben Fernandez?                             19· ·dressed I need 100 percent assistance with that.· Being
20· · · A.· If he is the Rubin that resides in El Paso, then         20· ·transferred from my bed to my wheelchair, I use a lift,
21· ·yes, I know him -- or of him.                                   21· ·which my attendant puts under me and guides me into my
22· · · Q.· Do you know the nature of his disability?                22· ·wheelchair.· I have an electric wheelchair that reclines
23· · · A.· No, I do not.                                            23· ·so that I can stretch out during the day.· I cannot read
24· · · Q.· Okay.· What about Amy Litzsinger?                        24· ·above my ears, so everything I have has to be kind of
25· · · A.· I do know her.                                           25· ·right in front of me.· I use electronics [sic]

                                                           Page 23                                                               Page 25
·1· · · Q.· Do you know the nature of her disability?                ·1· ·technology to turn on lights.· I use my cell phone to
·2· · · A.· No, I do not.                                            ·2· ·turn on lights and do what else I can do through
·3· · · Q.· And Laura Halvorson, do you know her?                    ·3· ·whatever app there is available.
·4· · · A.· Yes.                                                     ·4· · · · · Let's see.· I utilize, certainly, you know,
·5· · · Q.· And do you know the nature of her disability?            ·5· ·sidewalks.· I use my accessible public transit to get
·6· · · A.· No, I do not.                                            ·6· ·around.· My attendant goes with me for the majority of
·7· · · Q.· So can you personally testify to any challenges          ·7· ·my activities to either of escort me, open doors, get me
·8· ·that Laura Halvorson has faced while voting -- strike           ·8· ·water, food.· She helps me at night with my CPAP
·9· ·that --                                                         ·9· ·machine.· So many things.· Plugging in my wheelchair.
10· · · · · Do you have any personal knowledge about                 10· ·Everything -- feeding my cat.· That's not on the list of
11· ·challenges that Laura Halvorson has faced while voting?         11· ·duties, but taking care of a lot of the household
12· · · A.· No.                                                      12· ·things.
13· · · Q.· Do you have any personal knowledge about                 13· · · · · I can't even really fold laundry anymore.· As I
14· ·challenges that Amy Litzsinger has faced while voting?          14· ·said earlier, it's a progressive disability.· I used to
15· · · A.· No.                                                      15· ·be able to cook.· I can't cook anymore, for safety
16· · · Q.· And do you have any personal knowledge about             16· ·reasons and for the weakness.· I used to be able to open
17· ·challenges that Ruben Fernandez has faced while voting?         17· ·doors on my own, and because it's progressed, I'm
18· · · A.· And the only reason that I respond "no" in               18· ·needing help doing that.· I find myself dropping things
19· ·this -- this direction is that I know they have                 19· ·more, which my attendant helps me with.· Actually, we
20· ·disabilities, I just don't know that I've ever seen them        20· ·just go around the house picking up things.
21· ·vote.                                                           21· · · · · We do as many normal things as possible,
22· · · Q.· So that's a "no" for Ruben Fernandez too?                22· ·including going to church activities and to -- lifting
23· · · A.· So that's no.                                            23· ·things.· I can't lift anything.· I shouldn't lift
24· · · Q.· Okay.· Thank you.                                        24· ·anything because she'll have to pick it up.· It's a
25· · · · · And do you yourself have any disabilities within         25· ·pretty devastating type of disease.· To imagine the


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210-697-3400                                                                                                   210-697-3408                YVer1f
      Case
      Case5:21-cv-00844-XR
           5:21-cv-00844-XR Document
                            Document800-11
                                     810-5 Filed
                                           Filed10/12/23
                                                 10/20/23 Page
                                                           Page113of
                                                                  of39
                                                                     25
Nancy Crowther                                                                                                     June 17, 2022
                                                                                                                  Pages 30 to 33
                                                        Page 30                                                              Page 32
·1· · · Q.· And how long have you been registered to vote?            ·1· ·Travis County in the past, too, right?
·2· · · A.· Since I was 22.· Do the math.                             ·2· · · A.· I'm still not sure what you're asking.
·3· · · Q.· And --                                                    ·3· · · Q.· Sure.
·4· · · A.· But as soon as I could, I got registered.                 ·4· · · · · You know how voting practice works -- strike
·5· · · Q.· And you're currently registered to vote in                ·5· ·that --
·6· ·Travis County, right?                                            ·6· · · · · You know how voting works in Travis County,
·7· · · A.· Correct.                                                  ·7· ·right?
·8· · · Q.· Do you have a rough sense for how long you've             ·8· · · · · · · ·MS. SIFUENTES-DAVIS:· Objection, form.
·9· ·been registered in Travis County?                                ·9· · · A.· Yeah.· I'm still having --
10· · · A.· Forty years.                                              10· · · Q.· (BY MR. HERBERT)· It's okay.
11· · · Q.· Okay.· And you vote frequently, right?                    11· · · A.· -- trouble with that question.
12· · · A.· Yes.                                                      12· · · Q.· I think if I can rephrase it in a moment.
13· · · Q.· You mentioned about the 2020 instance in which            13· · · A.· Okay.
14· ·you attempted to vote by mail, and we will circle back           14· · · Q.· So we're probably gonna touch on the 2020
15· ·to that, but I assume that means, then, that you've              15· ·instance a couple of times here.· So we don't -- my
16· ·voted in person, as well, right?                                 16· ·question just for right now is:· Were you able to vote
17· · · A.· No.                                                       17· ·in 2020?
18· · · Q.· You have not voted in person before?                      18· · · A.· Yes.
19· · · A.· I have voted in person as often, but the mail-in          19· · · Q.· Okay.· And did you vote in the 2020 general
20· ·ballot was a different issue.                                    20· ·election?
21· · · Q.· Right.· Sorry, I'm -- I apologize -- strike               21· · · A.· Yes.
22· ·that -- let me restate my question.                              22· · · Q.· Okay.· Did you vote in the 2020 primary election?
23· · · A.· Okay.                                                     23· · · A.· I don't recall.
24· · · Q.· You have also voted in person before, right?              24· · · Q.· Did you vote in the 2020 special election in July
25· · · A.· Yes.                                                      25· ·of 2020?

                                                            Page 31                                                            Page 33
·1· · · Q.· Okay.· And have you ever used an assister to              ·1· · · A.· I don't recall.
·2· ·vote?                                                            ·2· · · Q.· Did you vote in the 2020 July primary runoff?
·3· · · A.· I have one available.· My attendant is available          ·3· · · A.· Specifically, I don't recall.· This was all
·4· ·to assist when needed.                                           ·4· ·during COVID, and it's kind of a blur, but I don't
·5· · · Q.· And have you used the help of your attendant or           ·5· ·recall.
·6· ·anybody else to help you vote?                                   ·6· · · Q.· Okay.· Do you know if you voted -- strike that --
·7· · · A.· In situations where I've dropped the ballot, I            ·7· · · · · Did you vote in the 2021 November -- the
·8· ·had need for help getting the adaptive equipment to use          ·8· ·November 2021 constitutional amendment election?
·9· ·the voting machine disconnected from the Velcro; just in         ·9· · · A.· Yes.
10· ·those instances.                                                 10· · · Q.· Okay.· And let's talk about 2022.
11· · · Q.· Okay.· Have you ever requested an accommodation           11· · · · · Did you vote in the 2022 primary election on
12· ·at a polling location?                                           12· ·March 1st?
13· · · A.· The only accommodation I recall asking for has            13· · · A.· Yes.
14· ·been the high-enough, wide-enough booth to accommodate           14· · · Q.· Okay.· Which party's primary did you vote in?
15· ·my wheelchair.                                                   15· · · A.· Democratic.
16· · · Q.· Do you have a rough sense for when that was?              16· · · Q.· And have you voted in Texas Democratic primaries
17· · · A.· It's generally every election.                            17· ·before?
18· · · Q.· Okay.· So it's fair to say that you're familiar           18· · · A.· Yes.
19· ·with voting practices in Travis County, right?                   19· · · Q.· Do you have a rough estimate on how many times?
20· · · A.· Yes.                                                      20· · · A.· Not really.
21· · · Q.· Okay.· And you're familiar with the voting                21· · · Q.· Okay.· Have you ever voted in the Republican
22· ·options that Travis County has offered in the past,              22· ·primary in Texas?
23· ·right?                                                           23· · · A.· Yes.
24· · · A.· Voting options?· What do you mean by that?                24· · · Q.· Do you have a rough sense for when that was?
25· · · Q.· You're familiar with the voting practices in              25· · · A.· No.


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210-697-3400                                                                                                   210-697-3408              YVer1f
      Case
      Case5:21-cv-00844-XR
           5:21-cv-00844-XR Document
                            Document800-11
                                     810-5 Filed
                                           Filed10/12/23
                                                 10/20/23 Page
                                                           Page124of
                                                                  of39
                                                                     25
Nancy Crowther                                                                                                   June 17, 2022
                                                                                                                Pages 34 to 37
                                                         Page 34                                                             Page 36
·1· · · Q.· Okay.· Do you have a rough sense for how many          ·1· · · Q.· Senate Bill 1 was in effect for the
·2· ·times?                                                        ·2· ·March 1st, 2022, primary, correct?
·3· · · A.· No.                                                    ·3· · · A.· I believe so.
·4· · · Q.· In the 2022 primary election on March 1st, the         ·4· · · Q.· And same for the May 7th local election, correct?
·5· ·Democratic primary election, did you vote by mail or in       ·5· · · A.· I believe so.
·6· ·person?                                                       ·6· · · Q.· And same for the May 24th runoff election, right?
·7· · · A.· In person.                                             ·7· · · A.· Yes.
·8· · · Q.· Okay.· Did your attendant help you that day?           ·8· · · Q.· Okay.· Since 2016, how many times have you voted
·9· · · A.· No.                                                    ·9· ·in the Democratic primary elections?
10· · · Q.· Okay.· Did you have anyone else help or assist         10· · · A.· There is no way I can tell you an answer to that.
11· ·you that day in voting?                                       11· · · Q.· That's okay.· Do you have a rough idea?
12· · · A.· I required the assistance of one of the poll           12· · · A.· We'll just say that I vote at every opportunity
13· ·workers to help remove the adaptive equipment from the        13· ·through issues that come up on the ballot --
14· ·side of the machine so that I could work the voting --        14· · · Q.· Okay.
15· ·but she had trouble, too.· It's a very strong Velcro.         15· · · A.· -- in Travis County.
16· ·It's got to be 50 pounds or something.· But yes, she          16· · · Q.· And did you vote in a Republican primary since
17· ·assisted removing that device so that I could vote.           17· ·2016?
18· · · Q.· Okay.· And what about the May 7th local and            18· · · A.· I don't recall.
19· ·constitutional election?· Did you vote in that election       19· · · Q.· Okay.· Let's now -- let's now step back to before
20· ·in 2022?                                                      20· ·the enactment of Senate Bill 1.
21· · · A.· I voted in the early voting, yes.                      21· · · · · So you had mentioned that you had issues voting
22· · · Q.· And did you vote in person for that?                   22· ·by mail in the 2020 general election; is that right?
23· · · A.· Yes.                                                   23· · · A.· That's correct.
24· · · Q.· And what about the most recent May 24th                24· · · Q.· Is that the only time that you had issues voting
25· ·Democratic primary runoff?· Did you vote in that?             25· ·in 2020?

                                                       Page 35                                                                Page 37
·1· · · A.· Yes.                                                   ·1· · · A.· By mail?
·2· · · Q.· Okay.· And you voted in person, right?                 ·2· · · Q.· In general -- strike that --
·3· · · A.· Yes.                                                   ·3· · · · · Let's take a step back.· Tell me about that time
·4· · · Q.· Okay.· Did you receive help from your attendant        ·4· ·in November 2020 where you had issues voting by mail.
·5· ·during the May 7th local and constitutional election?         ·5· · · A.· I placed -- sent in my application by the
·6· · · A.· Yes.                                                   ·6· ·deadline to receive a ballot by mail.· Close to the
·7· · · Q.· And what did she do?                                   ·7· ·deadline, I received my ballot by mail, but I also
·8· · · A.· She helped me with the Velcro.                         ·8· ·received notice that there was an error on the ballot by
·9· · · Q.· The recurring Velcro issue?                            ·9· ·mail through the Travis County voting folks.· So I had
10· · · A.· The recurring Velcro.                                  10· ·to wait for a second one, and that one came even closer
11· · · Q.· Okay.                                                  11· ·to the deadline of the vote-by-mail timelines.· This is
12· · · A.· But also getting into the facility.                    12· ·all during COVID.· I want to keep that in the record
13· · · Q.· Okay.· And same question, but for the May 24th         13· ·because that was a whole different time where I was
14· ·primary runoff.                                               14· ·confined to my home for health reasons.
15· · · · · Did you receive help from your attendant on that       15· · · · · When I received the correct ballot, at that time,
16· ·day?                                                          16· ·the mail service began to mess up, and there were some
17· · · A.· Yes.                                                   17· ·issues going on locally with our mail service, which
18· · · Q.· And what did she do for you?                           18· ·made me rather nervous.· I personally experienced
19· · · A.· Same thing.                                            19· ·getting mail for other people, and also reading in my
20· · · Q.· Okay.· And you were able to vote successfully,         20· ·neighborhood news issues with mail, which kind of
21· ·both in the May 24th runoff and the May 7th local             21· ·concerned me that -- how safe would my ballot be if I
22· ·election?                                                     22· ·mailed it from my mailbox on time?· Would it get there
23· · · A.· Yes.                                                   23· ·on time?
24· · · Q.· And the same is true for the March 1st primary?        24· · · · · After many reports of problems with the mail, not
25· · · A.· Yes.                                                   25· ·only locally but nationally, I took it upon myself to go


Kim Tindall and Associates, LLC 16414 San Pedro, Suite 900                                       San Antonio, Texas 78232
210-697-3400                                                                                                 210-697-3408               YVer1f
      Case
      Case5:21-cv-00844-XR
           5:21-cv-00844-XR Document
                            Document800-11
                                     810-5 Filed
                                           Filed10/12/23
                                                 10/20/23 Page
                                                           Page135of
                                                                  of39
                                                                     25
Nancy Crowther                                                                                                         June 17, 2022
                                                                                                                      Pages 38 to 41
                                                             Page 38                                                                 Page 40
·1· ·take it -- my ballot -- and I did everything right;               ·1· ·box.· And everybody cheered, because they knew it was
·2· ·signed it, licked it, signed it, everything.· I took it           ·2· ·quite the endeavor to get there.· So I turned around and
·3· ·upon myself, even though it went against my better                ·3· ·just repeated the whole process to get home.· Overall,
·4· ·judgment, to go out, to find the box that I could put my          ·4· ·it was about a three-hour adventure.· Exposing myself to
·5· ·ballot in.                                                        ·5· ·potential COVID, I was mortified by that, because I had
·6· · · · · At one time there were four boxes in Travis                ·6· ·been confined at home for so long, and I thought maybe
·7· ·County, and then I found out there was only one box in            ·7· ·the mail-in ballot situation would keep me safe, but all
·8· ·Travis County, and that was over on Airport Boulevard,            ·8· ·that turned to chaos, and I couldn't even trust our mail
·9· ·which was a substantial number of miles away from my              ·9· ·system.· So that's why I took it upon myself to go and
10· ·house.· And I had to get masked up, gloved up, warmed             10· ·do it the way I did it.· And it did get into the one
11· ·up, everything, and I had my ballot tucked in my seat             11· ·white box that was in Travis County.· And I got my
12· ·belt so I wouldn't lose it.· And because of the mail              12· ·sticker and left.
13· ·service, I took it.· I went to the bus stop; I got on a           13· · · Q.· So in November 2020, you had heard about problems
14· ·bus; I got off; I transferred.· This whole transaction            14· ·with the mail due to COVID, and for that reason, you
15· ·took more than an hour and a half getting there.                  15· ·decided not to submit your ballot by mail, right?
16· · · · · When I got off on Airport Boulevard, I had to --           16· · · A.· I don't believe the problem with the mail was due
17· ·I'm not familiar with the area, but got off, got into             17· ·to COVID.· I think there was a change in the business
18· ·some construction.· They had to lift a guide wire up so           18· ·with the mail service that has caused all the problems.
19· ·I could go under it to keep on the sidewalk to get to             19· ·I still had my mail-in ballot, so it was, do I put it in
20· ·where they told me the white box was to drop off my               20· ·the mail, or do I deliver it?· And the mail became an
21· ·mail-in ballot.                                                   21· ·issue nationally and locally.
22· · · · · I got to the area, and there were some cars in             22· · · Q.· Okay.
23· ·line, and I thought to myself, I thought, this must be            23· · · A.· So --
24· ·the line for dropping off your ballot.· Most people               24· · · Q.· Sorry, let me rephrase that, then.
25· ·drive.· I don't drive anymore, so I got in line, and              25· · · · · So in November 2020, due to problems with the

                                                            Page 39                                                               Page 41
·1· ·after about 20 minutes of following the cars and heading          ·1· ·post office that you perceived, you decided not to drop
·2· ·toward the front, one of the employees came over and              ·2· ·your ballot in the mail, but instead to go vote in
·3· ·said, Ma'am, where's your car?                                    ·3· ·person, right?
·4· · · · · And I was like, I came by bus.                             ·4· · · · · · · ·MS. SIFUENTES-DAVIS:· Objection, form.
·5· · · · · He said -- and he saw my ballot tucked in my               ·5· · · A.· Can you clarify what you just said.
·6· ·belt, and he goes, Oh are you here to drop that off?              ·6· · · Q.· (BY MR. HERBERT)· Sure.
·7· · · · · And I said, Yes isn't this the line?                       ·7· · · · · So to recap, in November 2020, instead of posting
·8· · · · · He said, No, and he pointed all the way across             ·8· ·your mail-in ballot, you decided to go drop it off in
·9· ·the parking lot, which was pretty extensive.· And he              ·9· ·person because of problems that you perceived with the
10· ·goes, You see that white tent?                                    10· ·USPS, right?
11· · · · · I said, Okay.                                              11· · · A.· They weren't perceived; they were real.
12· · · · · So I left that line, walked a distance that was            12· · · Q.· Okay.· I'll rephrase it.
13· ·pretty extensive, and holding on to my ballot, I made it          13· · · A.· I had an experience --
14· ·to the tent -- or the canopy.· And there, first, they             14· · · Q.· I'll rephrase it.
15· ·wanted my signature, my ID, and sign in, and do                   15· · · · · So in November 2020, you decided not to post your
16· ·everything else.· Meanwhile, I'm holding on to this               16· ·mail-in ballot, but instead, to take it and drop it off
17· ·ballot, and it become more and more crucial to me to get          17· ·in person because of problems with the USPS, right?
18· ·this ballot into that white box.· And they said, Here             18· · · A.· Correct.
19· ·let us do it for you.                                             19· · · Q.· Okay.· And in November 2020, you did successfully
20· · · · · I said, Oh, no.· I have traveled all this way to           20· ·vote, correct?
21· ·make sure my vote counts.                                         21· · · · · · · ·MS. SIFUENTES-DAVIS:· Objection, form.
22· · · · · And so they thought, Okay, we'll let you put it            22· · · A.· Yes, I did.
23· ·in.                                                               23· · · Q.· (BY MR. HERBERT)· Okay.· I'm going to go ahead
24· · · · · And actually, my attendant was with me and helped          24· ·and introduce another exhibit, which I will mark as
25· ·raise my arm up with my ballot in it and put it in the            25· ·Exhibit 4.


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      Case5:21-cv-00844-XR
           5:21-cv-00844-XR Document
                            Document800-11
                                     810-5 Filed
                                           Filed10/12/23
                                                 10/20/23 Page
                                                           Page146of
                                                                  of39
                                                                     25
Nancy Crowther                                                                                                   June 17, 2022
                                                                                                                Pages 42 to 45
                                                        Page 42                                                                Page 44
·1· · · · · · · ·(Exhibit 4 marked.)                              ·1· ·my attendant or if not another person shows up to vote
·2· · · A.· I'm --                                                ·2· ·behind me or comes out from voting.· So there's some
·3· · · Q.· (BY MR. HERBERT)· So this is a -- I apologize.        ·3· ·times there -- so I -- I can't give you a number of how
·4· · · A.· I may need you to read it for me.                     ·4· ·many times that's happened, but it does happen quite
·5· · · Q.· I'll do that.                                         ·5· ·frequently.
·6· · · · · So, this is a page on the Travis County Clerk         ·6· · · Q.· When was the most recent time that's happened?
·7· ·website.· In the center of the page, it says, "Voters        ·7· · · A.· I believe it was at a facility I wasn't familiar
·8· ·with disabilities."                                          ·8· ·with, and it was, I think, sometime this year, because I
·9· · · A.· Okay.                                                 ·9· ·went with my attendant, and she had to open the door,
10· · · Q.· Do you see that?                                      10· ·and we had to go down a long hallway, and I said, If you
11· · · A.· Yes.                                                  11· ·weren't here, I wouldn't have gotten in, because the
12· · · Q.· Okay.· And the first three sentences right below      12· ·people that were voting were exiting through different
13· ·that read, "The Travis County Clerk's office is              13· ·areas.· I could have been sitting there a long time.
14· ·committed to creating a 'safe haven' for voters so that      14· · · Q.· So that was in 2022?
15· ·they can exercise their right to vote in a polling place     15· · · A.· As far as I can recall.· I believe it was a
16· ·with a non-intimidating, supportive environment.· We         16· ·primary.
17· ·believe in making all polling places fully accessible,       17· · · Q.· Was it the March 2022 primary?
18· ·and we are seeking input from the community to ensure        18· · · A.· I believe it was.
19· ·that accessibility.· We believe that all voters have the     19· · · Q.· Okay.· Did it happen any other times in 2022?
20· ·right to cast their ballot independently and privately."     20· · · A.· No.
21· · · · · Did I read that right?                                21· · · Q.· Okay.· Did it happen anytime in 2021?· There was
22· · · A.· Yes.                                                  22· ·the November 2021 election.· Did it happen at that
23· · · Q.· Okay.· So you would agree that polling places in      23· ·election?
24· ·Travis County are accessible, right?                         24· · · A.· No.· That was the one where I carried it, right?
25· · · · · · · ·MS. SIFUENTES-DAVIS:· Objection, form.           25· · · Q.· Are you referring to the November 2022 -- sorry.

                                                      Page 43                                                          Page 45
·1· · · A.· My experience with voting in different polling    ·1· ·Strike that --
·2· ·places, they are not all accessible, because they can't  ·2· · · · · Are you referring to the November 2020 general
·3· ·see you at the door, and you can't open the door to get  ·3· ·election that we were previously talking about, how you
·4· ·in.· So, you know, it's your definition of where you're  ·4· ·waited in line with cars?
·5· ·at, as far as being able to have accessibility.· Now, I  ·5· · · A.· I've gotten lost on the question.
·6· ·would say that it's getting better, but it just depends  ·6· · · Q.· Sorry about that.· Let me restate it.
·7· ·on the individual.· When I'm short, people don't see me  ·7· · · · · So you'd mentioned that at the March 2022
·8· ·out windows unless I get someone to open the door for    ·8· ·Democratic primary, when you went to vote, you were not
·9· ·me.· So that is an access issue.· It will always be an   ·9· ·able to open the door by yourself, and you would not
10· ·access issue to get into the polling place.              10· ·have otherwise been able to open the door but for your
11· · · Q.· (BY MR. HERBERT)· In other words, for people who  11· ·attendant who was there with you, right?
12· ·need accommodations, there's no such thing as a          12· · · A.· Correct.
13· ·one-size-fits-all accommodation, right?                  13· · · Q.· Did that also happen to you in the November 2021
14· · · · · · · ·MS. SIFUENTES-DAVIS:· Objection, form.       14· ·election?
15· · · A.· It has been my experience.· It doesn't fit        15· · · A.· Now, which one was that?
16· ·everybody.· But the -- it has tried to fit everybody,    16· · · Q.· That would be the November 2021 constitutional
17· ·but not all shoes fit the same person.                   17· ·amendment election.
18· · · Q.· (BY MR. HERBERT)· And you had mentioned the issue 18· · · A.· Oh, yes.
19· ·of accessibility for getting into a polling place and    19· · · Q.· It happened to you then, as well?
20· ·the situation of doors or folks not being able to see    20· · · A.· Yes.
21· ·you.                                                     21· · · Q.· And was your attendant there with you?
22· · · · · Has that happened to you before?                  22· · · A.· No.
23· · · A.· Yes.                                              23· · · Q.· But you were able to vote, right?
24· · · Q.· When did that happen?                             24· · · A.· I had to rely on another person to hold the door
25· · · A.· Quite a few times, if I've been by myself without 25· ·open -- or open the door so I could get access into the


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      Case5:21-cv-00844-XR
           5:21-cv-00844-XR Document
                            Document800-11
                                     810-5 Filed
                                           Filed10/12/23
                                                 10/20/23 Page
                                                           Page157of
                                                                  of39
                                                                     25
Nancy Crowther                                                                                                       June 17, 2022
                                                                                                                    Pages 46 to 49
                                                            Page 46                                                               Page 48
·1· ·polling place.                                                   ·1· ·weren't an issue.
·2· · · Q.· And did that happen during the November 2020              ·2· · · Q.· Okay.· So if we look back to Exhibit 4, which is
·3· ·general election?                                                ·3· ·in front of you, and you flip to the second page -- it's
·4· · · A.· Well, you heard the story on that one.                    ·4· ·printed on both sides -- you'll see a header that reads,
·5· · · Q.· Oh, that's right.· So it did not happen in the            ·5· ·"Voters with Disabilities/Curbside Voting."
·6· ·November 2020 -- November election, right?· The issue of         ·6· · · · · Do you see that?
·7· ·not being able to get through doors because no one was           ·7· · · A.· Yes.
·8· ·at the door to see you?                                          ·8· · · Q.· Okay.· The first paragraph reads, "Voters who are
·9· · · A.· Well, finding the location of the white box, I            ·9· ·physically unable to enter the polling location without
10· ·think would be equivalent --                                     10· ·assistance or likelihood of injury to the voter's health
11· · · Q.· Okay.                                                     11· ·may ask the presiding election official to allow them to
12· · · A.· -- to not being able to get into a building,              12· ·vote outside the polling location.· The election officer
13· ·because sitting in a line of cars while you're in a              13· ·will deliver a ballot to the voter at the polling place,
14· ·wheelchair is rather intimidating, but...                        14· ·entrance, or curb."
15· · · Q.· I imagine so, and I didn't mean to make any               15· · · · · And then it cites TEC Section 64.009.
16· ·statement about that.· I just meant to say I'm --                16· · · · · Did I read that accurately?
17· · · A.· You're right.                                             17· · · A.· You did.
18· · · Q.· -- trying to talk, specifically, just about the           18· · · Q.· The second paragraph, right below that, reads,
19· ·door issue.· And we can talk about all of those, but the         19· ·"Voters who are planning to vote curbside are encouraged
20· ·door issue didn't happen in the 2020 election --                 20· ·to contact us upon their arrival at the polling
21· · · A.· Correct.                                                  21· ·location.· Call 512-238-VOTE -- in parentheses, 8683 --
22· · · Q.· Did it happen in the July 2020 Democratic primary         22· ·or 512-854-4996."
23· ·runoff?                                                          23· · · · · Did I read that correctly?
24· · · A.· July 2020?· No.                                           24· · · A.· Yes.
25· · · Q.· Did it happen any other times in 2020?                    25· · · Q.· Okay.· So you'd agree that curbside voting is

                                                            Page 47                                                               Page 49
·1· · · A.· I don't believe so, because there were a few of           ·1· ·available in Travis County, right?
·2· ·the elections, as I stated earlier, that I didn't vote           ·2· · · A.· In my opinion?· I know that curbside voting, in
·3· ·in because of COVID.                                             ·3· ·my history, was providing people the access to voting
·4· · · Q.· But you did vote in the March 2020 Democratic             ·4· ·within the vehicle, and so I'm not sure if they're
·5· ·primary, correct?                                                ·5· ·saying this is outside the vehicle or not.
·6· · · A.· Yes.                                                      ·6· · · · · So that's my clarification issue that I would
·7· · · Q.· Okay.· And you voted in person, right?                    ·7· ·have, but otherwise, if that's what it's stating, that
·8· · · A.· Yes.                                                      ·8· ·people can vote inside or outside their vehicle -- it's
·9· · · Q.· Did you face that issue of door access in the             ·9· ·not clarified there, unless it's in that section of the
10· ·2020 March Democratic primary?                                   10· ·TEC.· I don't know.
11· · · A.· I don't believe so.                                       11· · · Q.· Okay.· Have you ever called the polling location
12· · · Q.· Okay.· So just to sum up, you faced door-access           12· ·or -- strike that --
13· ·issues in the March 2022 primary, and you also faced             13· · · Have you ever called a polling location about
14· ·door-access issues in the November 2021 constitutional           14· ·curbside voting?
15· ·amendment election, correct?                                     15· · · A.· No.
16· · · A.· Correct.                                                  16· · · Q.· If you look to the next page, there's another
17· · · Q.· Okay.· So Senate Bill 1 did not have any affect           17· ·heading called, "Receiving assistance at the polls."
18· ·on whether or not you faced door-access issues, correct?         18· · · · · Do you see that?
19· · · A.· In what way?                                              19· · · A.· Yes.
20· · · Q.· Senate Bill 1 was not in effect during the time           20· · · Q.· It reads, "You're entitled to receive assistance
21· ·of the November 2021 constitutional amendment election,          21· ·if you cannot read or write or if you have a physical
22· ·and it was in effect during the time of the March 2022           22· ·disability that prevents you from reading or marking the
23· ·Democratic primary, so Senate Bill 1 did not affect any          23· ·ballot.· You may be assisted by a person of your choice
24· ·door-access issues, correct?                                     24· ·who is not your union representative or employer.· Under
25· · · A.· I had electric doors at that primary, so doors            25· ·certain circumstances, election workers are also


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      Case
      Case5:21-cv-00844-XR
           5:21-cv-00844-XR Document
                            Document800-11
                                     810-5 Filed
                                           Filed10/12/23
                                                 10/20/23 Page
                                                           Page168of
                                                                  of39
                                                                     25
Nancy Crowther                                                                                                     June 17, 2022
                                                                                                                  Pages 50 to 53
                                                          Page 50                                                               Page 52
·1· ·available upon request to assist you."                         ·1· ·implementing ADA requirements, so I have vast knowledge,
·2· · · · · Did I read that correctly?                              ·2· ·and I don't need to speak with Mr. Moore.· I dealt with
·3· · · A.· Yes.                                                    ·3· ·Dana Dubois directly.
·4· · · Q.· Okay.· And if you flip back to the first page, at       ·4· · · Q.· And when was that?· You said a long time before
·5· ·the very top of the page, in the upper right-hand              ·5· ·2020; is that right?
·6· ·corner, there is a phone number listed, correct?               ·6· · · A.· Yes.
·7· · · · · In the top right-hand corner in the black bar at        ·7· · · Q.· Okay.· And you -- just to be clear, you never
·8· ·the top of the right page --                                   ·8· ·called or contacted Mr. Tim Moore, the ADA coordinator,
·9· · · A.· Okay.                                                   ·9· ·right?
10· · · Q.· -- there's a phone number listed, correct?              10· · · A.· No.
11· · · A.· Yes.                                                    11· · · Q.· Okay.· Let's talk about SB1.
12· · · Q.· Have you ever called this phone number?                 12· · · · · Do you contend that SB1 has harmed you?
13· · · A.· No.                                                     13· · · A.· I don't feel like I have full knowledge -- or I
14· · · Q.· Have you ever called the Travis County Clerk?           14· ·haven't read the whole bill to understand it.· I'm not a
15· · · A.· No.                                                     15· ·lawyer.
16· · · Q.· Have you ever asked the Travis County Clerk for         16· · · Q.· Some might say that to be a good thing.
17· ·assistance at the polls?                                       17· · · A.· Yeah.· There are jokes about that.
18· · · A.· No.                                                     18· · · · · But to the basic knowledge, I know that it
19· · · Q.· Have you ever called the Travis County Clerk for        19· ·would -- because of my disability that is progressive, I
20· ·an accommodation?                                              20· ·will need more and more help, and the help that I will
21· · · A.· No.                                                     21· ·be needing is going to be going through more, I want to
22· · · Q.· Okay.· I'm going to introduce one more exhibit,         22· ·say, threatening issues that could -- how should I say
23· ·which I will mark as Exhibit 5?                                23· ·this?· It could jeopardize the relationship with my
24· · · · · So, this is a notice posted on the Travis County        24· ·attendant because of the, What you can do; what you
25· ·Clerk website.· Do you see at the top of the page, where       25· ·can't do.· If you instinctively pick up a ballot and

                                                      Page 51                                                                    Page 53
·1· ·it reads, "Notice to voters with disabilities"?                ·1· ·it's not in the rule to pick up the ballot off the
·2· · · · · · · ·(Exhibit 5 marked.)                                ·2· ·floor, you know, those types of things, I would be
·3· · · A.· Yes.                                                    ·3· ·mortified for them if they were to get in trouble just
·4· · · Q.· (BY MR. HERBERT)· And in the first box, the first       ·4· ·for helping me.
·5· ·two sentences read as follows:· "The Americans with            ·5· · · Q.· So your concern is about the future effect of
·6· ·Disabilities Act, ADA, requires that Travis County's           ·6· ·Senate Bill 1 on your ability to vote, correct?
·7· ·elections be accessible to individuals with                    ·7· · · A.· Yes.
·8· ·disabilities.· For any complaints regarding                    ·8· · · Q.· Has Senate Bill 1 thus far affected your ability
·9· ·accessibility, the Travis County Elections Division has        ·9· ·to vote?
10· ·a plan of action to promptly resolve any complaints            10· · · A.· Not to my knowledge.· If I had not done any -- I
11· ·received."                                                     11· ·haven't tried any mail-in voting or whatever else they
12· · · · · Did I read that correctly?                              12· ·asked for in SB1 that I know of.
13· · · A.· Yes.                                                    13· · · Q.· Okay.· Before we move on and go more in depth, do
14· · · Q.· Now, in the bottom right-hand conner -- in the          14· ·you have any personal knowledge of anyone else for whom
15· ·bottom right-hand box of this notice, it reads as              15· ·SB1 has affected their ability to vote?· Or are the --
16· ·follows:· "ADA coordinator, Tim Moore" -- and then it          16· ·only personal knowledge you have about yourself?
17· ·includes, below that, a phone number and an e-mail             17· · · A.· My own knowledge is all I have right now.
18· ·address.                                                       18· · · Q.· Okay.· So just to be clear, you do not have any
19· · · · · Did I represent that accurately?                        19· ·personal knowledge about anybody other than yourself who
20· · · A.· Yes.                                                    20· ·has been affected by SB1 for the ability to vote,
21· · · Q.· Have you ever reached out to the Travis County          21· ·correct?
22· ·Elections Division about accessibility?                        22· · · A.· I would have to say, yes.
23· · · A.· Way prior to 2020.                                      23· · · Q.· Okay.· And also, just to be clear, you do not
24· · · Q.· Okay.                                                   24· ·have any reason to believe that Senate Bill 1 affected
25· · · A.· Several decades.· I worked with them on                 25· ·your ability to vote in the March 2022 primary only,


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      Case5:21-cv-00844-XR
           5:21-cv-00844-XR Document
                            Document800-11
                                     810-5 Filed
                                           Filed10/12/23
                                                 10/20/23 Page
                                                           Page179of
                                                                  of39
                                                                     25
Nancy Crowther                                                                                                       June 17, 2022
                                                                                                                    Pages 54 to 57
                                                           Page 54                                                                Page 56
·1· ·correct?                                                           ·1· ·page, second line down, it reads, "Interrogatory No. 1:
·2· · · A.· Me personally?· No.                                         ·2· ·Identify each Texas Election Code provision that
·3· · · Q.· Okay.· And I'm just going to ask a couple more              ·3· ·Senate Bill 1 amended and that you are challenging by
·4· ·questions like that before we move on to talking a                 ·4· ·the relevant section number of each Texas Election Code
·5· ·little bit more about SB1 specifically.                            ·5· ·provision."
·6· · · A.· Okay.                                                       ·6· · · · · Did I read that correctly?
·7· · · Q.· But again, just to clarify, you do not have any             ·7· · · A.· Yes.
·8· ·basis to believe that SB1 harmed your ability to vote in           ·8· · · Q.· And do you see, the line right after that begins,
·9· ·the May 7th local election specifically, correct?                  ·9· ·quote, "Response:· Plaintiffs are challenging the
10· · · A.· To clarify your question, I did not take my                 10· ·following provisions in the Texas Election Code that
11· ·attendant with me on that election because I did not               11· ·were amended by Senate Bill 1."
12· ·want to jeopardize their relationship with me based on             12· · · · · It then continues on to list a whole set of
13· ·the new requirements, so I didn't take her.· So it has             13· ·provisions; 19 provisions on this page, and one more on
14· ·impacted me.                                                       14· ·the following page at the very top.
15· · · · · Was that the question?                                      15· · · · · Did I represent that accurately?
16· · · Q.· Sorry.· Not quite.· I'm trying to ask just a                16· · · A.· Yes.
17· ·little bit -- something different.· I understand that              17· · · Q.· Okay.· So if I use the term "challenged
18· ·you have concerns about the -- about certain ways in               18· ·provisions," I'm talking about these challenged
19· ·which you believe that SB1 will affect you.· So I'm just           19· ·provisions within SB1.
20· ·trying to make sure that I understand in what context              20· · · · · Does that make sense?
21· ·you're talking about those things.                                 21· · · A.· Yes.
22· · · · · My question is a little bit more just about --              22· · · Q.· Okay.· And just to be clear, as far as you're
23· ·you had said that you were concerned about the future              23· ·aware, you are not alleging that any particular
24· ·affect of SB1 because of the progressive nature of your            24· ·provision, of Senate Bill 1, aside from the challenged
25· ·disability.                                                        25· ·provisions have harmed you, right?

                                                              Page 55                                                             Page 57
·1· · · A.· Uh-huh.                                                     ·1· · · A.· I'm not aware of what these provisions are. I
·2· · · Q.· And so I'm just trying to clarify that for the --           ·2· ·don't recognize them.· And I'm not a legislative person
·3· ·just with respect -- only with respect to the May 7th              ·3· ·that would be writing all this stuff, so I'm not
·4· ·local election and the May Democratic primary runoff,              ·4· ·familiar with what they are.· So I really can't answer
·5· ·that you have no personal experience that would suggest            ·5· ·that.
·6· ·that SB1 prevented you from voting, correct?                       ·6· · · Q.· That's okay.· Thank you.
·7· · · A.· That would be correct.                                      ·7· · · · · So let's talk about some of the provisions of
·8· · · Q.· (BY MR. HERBERT)· Okay.· So let's talk a little             ·8· ·Senate Bill 1.· And to help guide our conversation, I'm
·9· ·bit about SB1, moving forward.                                     ·9· ·going to introduce another exhibit, which I'm going to
10· · · · · I'm going to introduce another exhibit, which I             10· ·mark as Exhibit 7.· We can just keep it on hand and
11· ·will mark as Exhibit 6.· On the first page of this                 11· ·handy as a reference.· You may not flip to it all the
12· ·document, the bold and underlined caption or header                12· ·time, but I might ask you to look at it now and then,
13· ·reads, "Plaintiff -- Plaintiffs Houston Justice, et al.,           13· ·okay?
14· ·responses to State Defendants' first set of requests for           14· · · · · · · ·(Exhibit 7 marked.)
15· ·admission, requests for production, and                            15· · · A.· Okay.
16· ·interrogatories."                                                  16· · · Q.· (BY MR. HERBERT)· So this is a copy of the signed
17· · · · · Correct?                                                    17· ·Senate Bill 1, and as we look at this document, I'll
18· · · · · · · ·(Exhibit 6 marked.)                                    18· ·represent to you that any language that the Texas
19· · · A.· Yes.                                                        19· ·legislature removed from the previously enacted statute
20· · · Q.· (BY MR. HERBERT)· In that first paragraph, it               20· ·has been crossed out.· Any language that is new -- that
21· ·reads, "Come Now Plaintiffs Houston Justice, Houston               21· ·has been added -- is underlined, and any words that just
22· ·Area Urban League, Delta Sigma Theta Sorority, Inc., The           22· ·appear normally, that's language that has just stayed
23· ·Arc of Texas," and it continues on, correct?                       23· ·the same.
24· · · A.· Yes.                                                        24· · · · · Does that make sense?
25· · · Q.· If you would flip to Page 7, at the top of the              25· · · A.· Yes.


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     Case
      Case5:21-cv-00844-XR
           5:21-cv-00844-XR Document 800-11
                                     810-5 Filed 10/20/23
                                                 10/12/23 Page
                                                           Page18
                                                                10ofof39
                                                                       25
Nancy Crowther                                                                                                   June 17, 2022
                                                                                                                Pages 58 to 61
                                                           Page 58                                                           Page 60
·1· · · Q.· Okay.· So before we look at Senate Bill 1 a              ·1· ·July 22, 2021.
·2· ·little bit more, has SB1 harmed you in your ability to          ·2· · · · · Did I represent that accurately?
·3· ·vote by mail in future elections?                               ·3· · · · · · · ·(Exhibit 8 marked.)
·4· · · A.· From my understanding of SB1, the requirements           ·4· · · A.· What is VOX?
·5· ·have changed.· That you have to give proof of disability        ·5· · · Q.· (BY MR. HERBERT)· This is an article from a
·6· ·in order to apply for an absentee -- or a ballot by             ·6· ·website called Vox?
·7· ·mail, as they call it.· And there was some other part of        ·7· · · · · Do you see where it's entitled, "Vox," at the top
·8· ·it that I think impacted me, but I can't recall it right        ·8· ·left-hand corner?
·9· ·now.                                                            ·9· · · A.· Uh-huh.
10· · · Q.· Do you believe that you had -- strike that --            10· · · Q.· Okay.· And do you see in the center of the page,
11· · · · · Do you believe that you did not have to show a           11· ·the title that says, "Here's How Hard it is to Vote in
12· ·disability to vote by mail before SB1?                          12· ·Texas"?
13· · · A.· Yes.                                                     13· · · A.· Yes.
14· · · Q.· Yes, you do not believe that, or yes, you did?           14· · · Q.· And just underneath that, it includes the date,
15· · · · · Sorry, my own question.· Let me rephrase it.             15· ·July 22, 2021; is that right?
16· · · · · Before SB1, did you have to show proof of                16· · · A.· Yes.
17· ·disability to vote by mail?                                     17· · · Q.· Okay.· I'll have you turn to Page 5, if you don't
18· · · A.· No.                                                      18· ·mind.· Oh, it's not numbered.· I apologize.· But if you
19· · · Q.· Okay.· Let's flip to Page 33 of Exhibit 7.               19· ·flip one more page --
20· · · · · So if you look, you'll see on Line 16, it says,          20· · · A.· There we are.
21· ·"Section 5.02."                                                 21· · · Q.· There you are.
22· · · A.· Okay.                                                    22· · · · · Do you see in the middle of the page where it has
23· · · Q.· This section amends the Texas Election Code and          23· ·a picture of you, and it reads, toward the top, quote,
24· ·states what an early voting application -- an early             24· ·"People with disabilities also have a right to a private
25· ·voting ballot application must include.· Specifically,          25· ·vote," quote.

                                                           Page 59                                                           Page 61
·1· ·it requires, from Line 22, quote, "The following                ·1· · · A.· Yes.
·2· ·information:· A.· The number of the applicant's driver's        ·2· · · Q.· "Nancy Crowther, 64, Travis County."
·3· ·license, election identification certificate, or                ·3· · · · · Did I read that correctly?
·4· ·personal identification card issued by the Department of        ·4· · · A.· That is correct.
·5· ·Public Safety.                                                  ·5· · · Q.· What follows is a statement made by you, right?
·6· · · · · "B.· If the applicant has not been issued a              ·6· · · A.· It's an article written.
·7· ·number described by Paragraph A, the last four digits of        ·7· · · Q.· By you, correct?
·8· ·the applicant's" -- continued onto the next page --             ·8· · · · · · · ·MS. SIFUENTES-DAVIS:· Objection, form.
·9· ·"Social security number, or --                                  ·9· · · A.· Yeah, I think the author did it.
10· · · · · "C.· A statement by the applicant that the               10· · · Q.· (BY MR. HERBERT)· Do you see in the first
11· ·applicant has not been issued a number described by             11· ·sentence under your name it says, "I live in Austin,
12· ·Paragraph A or Paragraph B."                                    12· ·Texas, and I'm a person with a disability who uses a
13· · · · · Did I read that correctly?                               13· ·motorized wheelchair to get around."
14· · · A.· Yes.                                                     14· · · A.· Yes.
15· · · Q.· Okay.· The requirement to include your personal          15· · · Q.· Did I read that correctly?
16· ·identification number as discussed just here, that does         16· · · A.· Yes.
17· ·not harm you, correct?                                          17· · · Q.· So this is a publication of something you said;
18· · · A.· I don't recall having to do it -- use it before,         18· ·is that right?
19· ·and I would not like my identifying information being           19· · · A.· Yes.
20· ·out in the mail at this point for absentee voting, and I        20· · · Q.· Okay.· If you flip to the next page -- sorry, if
21· ·don't recall ever having to do that before.                     21· ·you just turn to the next page, toward the bottom, in
22· · · Q.· Okay.· I'm going to briefly introduce another            22· ·the second-to-last paragraph, right near the bottom, it
23· ·exhibit, which I'm going to mark as Exhibit 8.                  23· ·reads, "Then when I finally got there, I had to sign my
24· · · · · So, this is an article from Vox, entitled,               24· ·life away.· I had to provide an ID card.· My signature
25· ·"Here's How Hard it is to Vote in Texas" from                   25· ·on the envelope apparently wasn't enough, so I had to

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     Case
      Case5:21-cv-00844-XR
           5:21-cv-00844-XR Document 800-11
                                     810-5 Filed 10/20/23
                                                 10/12/23 Page
                                                           Page19
                                                                11ofof39
                                                                       25
Nancy Crowther                                                                                                    June 17, 2022
                                                                                                                 Pages 62 to 65
                                                          Page 62                                                              Page 64
·1· ·add my signature to a form on a clipboard.· I was then         ·1· ·little bit different.
·2· ·wondering if they wanted a blood sample.· I was willing        ·2· · · · · The signature and identification provisions in
·3· ·to offer them whatever they needed, because I wanted to        ·3· ·2020 versus the signature and identification
·4· ·get my vote counted.· It was important to me."                 ·4· ·requirements in 2022 under Senate Bill 1, those are both
·5· · · · · Did I read that correctly?                              ·5· ·equally cumbersome to you, correct?
·6· · · A.· Yes, you did.                                           ·6· · · A.· Yes.
·7· · · Q.· And this is in reference to that 2022 November          ·7· · · Q.· Okay.· So let's talk a little bit about the
·8· ·general election, correct?                                     ·8· ·matching signatures.
·9· · · A.· Correct.                                                ·9· · · · · You had mentioned that sometimes you sign your
10· · · Q.· Okay.· So you're talking about when you got             10· ·name one way, and the next time it's a little different;
11· ·there, as in, when you got to the polling location to          11· ·is that right?
12· ·drop off your ballot, correct?                                 12· · · A.· Uh-huh.
13· · · A.· My mail-in ballot, yes.                                 13· · · Q.· So let's say a voter votes by mail -- let's --
14· · · Q.· Yes.                                                    14· ·hypothetical.· Let's say that a voter votes by mail, and
15· · · · · So you're saying that providing identification          15· ·let's say that the personal identification numbers on
16· ·card information and signing twice is cumbersome; is           16· ·her ballot, on her carrier envelope, those numbers match
17· ·that right?                                                    17· ·the numbers in her voter registration application.
18· · · A.· Yes.                                                    18· ·Should her signature just be presumed to be legitimate?
19· · · Q.· And you were still able to vote in that election,       19· · · · · · · ·MS. SIFUENTES-DAVIS:· Objection, form.
20· ·though, correct?                                               20· · · A.· I don't even understand the question.
21· · · A.· Yes.                                                    21· · · Q.· (BY MR. HERBERT)· Sorry about that.· Let me try
22· · · Q.· So you did, in fact, provide your identification,       22· ·and rephrase it.
23· ·correct?                                                       23· · · · · Let's say that somebody votes by mail, and let's
24· · · A.· I had to.                                               24· ·say that the personal identification numbers, her
25· · · Q.· And they did, in fact, make you sign; is that           25· ·driver's license whatever she uses, let's say that those

                                                          Page 63                                                              Page 65
·1· ·right?                                                         ·1· ·match what is in the system for her.
·2· · · A.· Yes.                                                    ·2· · · · · Should we assume that her signature is
·3· · · Q.· And you did, in fact, sign, correct?                    ·3· ·legitimate?
·4· · · A.· Yes.                                                    ·4· · · A.· No.
·5· · · Q.· So Senate Bill 1's requirements for                     ·5· · · Q.· Would it be good if we assume that her legitimate
·6· ·identification numbers and signature requirements have         ·6· ·-- that her signature is legitimate if her ballot
·7· ·not encumbered you any more than the pre-existing              ·7· ·numbers match her voter application numbers?
·8· ·identification and signature requirements, correct?            ·8· · · · · · · ·MS. SIFUENTES-DAVIS:· Objection, form.
·9· · · A.· The issue I had with the mail-in ballot and             ·9· · · A.· No.
10· ·getting there and these changes, to me, what I recall          10· · · Q.· (BY MR. HERBERT)· Can I ask why?
11· ·hearing was that signatures must match.· And I thought,        11· · · A.· Because you don't know who filled out that form.
12· ·you know, I don't think I sign my name the same way            12· · · Q.· Okay so if Senate Bill 1 created a rule saying,
13· ·twice, exact match, and that's -- that was one of my           13· ·Hey, if the identification numbers on your ballot match
14· ·concerns.· So it was an unnecessary but truthful concern       14· ·the identification numbers in your voter registration
15· ·of mine, that I had to sign.                                   15· ·application, then we will assume that your signature is
16· · · Q.· And just to be clear --                                 16· ·valid, would that not help your concern about maybe you
17· · · A.· And I had --                                            17· ·sign your name slightly differently one time versus
18· · · Q.· -- this was in 2020, right?                             18· ·another time?
19· · · A.· Correct.                                                19· · · A.· And this is just for people with disabilities?
20· · · · · And I had my mail-in ballot, and I said, Are you        20· · · Q.· I'm just asking a hypothetical question.
21· ·going to compare the two?                                      21· · · A.· Okay.
22· · · · · And she said, No.                                       22· · · Q.· For you specifically.
23· · · Q.· Okay.· So my question -- we'll talk about the           23· · · A.· For me specifically, when I use a table, my
24· ·signature matching.· I do want to talk about that.· But        24· ·signature is almost perfect.· When they give me a
25· ·just briefly, before we go on, my question is just a           25· ·clipboard, it's different.· When I'm at a polling place,


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     Case
      Case5:21-cv-00844-XR
           5:21-cv-00844-XR Document 800-11
                                     810-5 Filed 10/20/23
                                                 10/12/23 Page
                                                           Page20
                                                                12ofof39
                                                                       25
Nancy Crowther                                                                                                       June 17, 2022
                                                                                                                    Pages 66 to 69
                                                             Page 66                                                           Page 68
·1· ·they use a table, so that's different.· And now they use          ·1· · · A.· Yes.
·2· ·some kind of a flip keyboard thing that I have to do              ·2· · · Q.· And that also was in person, right?
·3· ·with my finger or something, or a stylus or whatever,             ·3· · · A.· Yes.
·4· ·that's up above, where I can't really write well, and             ·4· · · Q.· And lastly, you did vote in the May 24, 2022,
·5· ·that's different.· It just depends on where I am in               ·5· ·Democratic primary runoff election, correct?
·6· ·my -- in the need, so comparing signatures is not really          ·6· · · A.· Yes.
·7· ·a fair -- whatever you want to call it -- a fair part of          ·7· · · Q.· And likewise, that also was in person, right?
·8· ·having to vote, so I find it cumbersome.                          ·8· · · A.· Yes.
·9· · · Q.· Okay.· And just to be clear, my question is just           ·9· · · Q.· Okay.· Great.
10· ·a tiny little bit different.· Just with respect to you.           10· · · · · So turning back to voting by mail, moving
11· · · A.· Uh-huh.                                                    11· ·forward, under SB1, you have voted only in person in
12· · · Q.· For you, if the Texas legislator -- strike                 12· ·2022 thus far, so you have not had any application to
13· ·that --                                                           13· ·vote by mail rejected in 2022, correct?
14· · · · · If the Texas legislature required that you,                14· · · A.· Correct.
15· ·Nancy Crowther, we're not going to scrutinize whether             15· · · Q.· Let's say that a voter -- let me ask you a
16· ·your signatures match if the identification numbers you           16· ·hypothetical question.
17· ·gave us match what's in your voting file.                         17· · · A.· Okay.
18· · · · · Would that help you?                                       18· · · Q.· Let's say that a voter canceled her application
19· · · A.· That would help tremendously.                              19· ·to vote by mail, but failed to return her mail-in
20· · · Q.· Okay.· And let me ask -- let me ask another                20· ·ballot.· So she applied to vote by mail, she received
21· ·related question here.                                            21· ·her mail-in ballot, but she then canceled her
22· · · · · · · ·MS. SIFUENTES-DAVIS:· Are we getting towards          22· ·application to vote by mail.· Should she be allowed to
23· ·a good stopping point for lunch?                                  23· ·vote provisionally --
24· · · · · · · ·MR. HERBERT:· Yeah, sorry.· I was actually            24· · · · · · · ·MS. SIFUENTES-DAVIS:· Objection, form.
25· ·going to bring that up.· You know, we haven't quite made          25· · · Q.· (BY MR. HERBERT)· -- in person?

                                                            Page 67                                                               Page 69
·1· ·as much progress as I'd like, but now is as good of a             ·1· · · A.· Yes.
·2· ·time as any to stop for lunch, if you-all would like to           ·2· · · Q.· That would be a good thing?
·3· ·do that.                                                          ·3· · · A.· Yes.
·4· · · · · · · ·THE VIDEOGRAPHER:· We are off the record at           ·4· · · Q.· Okay.· Would you agree that voters should not be
·5· ·12:21.                                                            ·5· ·allowed to vote twice, right?
·6· · · · · · · ·(Off the record.)                                     ·6· · · A.· Correct.
·7· · · · · · · ·THE VIDEOGRAPHER:· We are back on the record          ·7· · · Q.· And so you would agree that it's good for the
·8· ·at 12:58.                                                         ·8· ·State to make sure that voters, in fact, do not vote
·9· · · Q.· (BY MR. HERBERT)· I hope you had a nice lunch,             ·9· ·twice, right?
10· ·Ms. Crowther.                                                     10· · · A.· Yes.
11· · · A.· I did.                                                     11· · · Q.· Let me ask you another hypothetical.
12· · · Q.· We were talking before we broke for lunch about            12· · · · · Let's say that an identification number on a
13· ·vote-by-mail provisions and how you fear they might               13· ·voter's application to vote by mail -- let's say that
14· ·affect you in the future, particularly SB1's                      14· ·that identification number did not match what was in the
15· ·vote-by-mail provisions.                                          15· ·voter's registration file.
16· · · · · Before we continue on along those lines, I did             16· · · · · Should the clerk have to notify that voter and
17· ·just want to confirm something that I believe I already           17· ·give that voter a chance to correct it?
18· ·got, but I just want to double-check.                             18· · · A.· I believe that would be the most appropriate
19· · · · · You did vote in the 2022 March Democratic                  19· ·thing because, frankly, I don't remember what I used to
20· ·primary, correct?                                                 20· ·register.· So I don't always think people will remember
21· · · A.· Yes.                                                       21· ·what they used.
22· · · Q.· And that was in person, correct?                           22· · · Q.· Do you intend to vote by mail in the future?
23· · · A.· Yes.                                                       23· · · A.· If the need arises because either my disability
24· · · Q.· And you did vote in the May 2022 constitutional            24· ·progresses to a point where I can't get out more
25· ·amendment election, right?                                        25· ·independently or if we have another pandemic, you know,


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     Case
      Case5:21-cv-00844-XR
           5:21-cv-00844-XR Document 800-11
                                     810-5 Filed 10/20/23
                                                 10/12/23 Page
                                                           Page21
                                                                13ofof39
                                                                       25
Nancy Crowther                                                                                                    June 17, 2022
                                                                                                                 Pages 70 to 73
                                                           Page 70                                                            Page 72
·1· ·whatever would limit me from being able to get out.             ·1· ·option?
·2· · · Q.· So yes, you might?                                       ·2· · · A.· To be able to use it?
·3· · · A.· I might.                                                 ·3· · · Q.· Yeah.
·4· · · Q.· Okay.· Quick aside, knock on wood that we don't          ·4· · · A.· Would it hurt me?· I don't believe it would.
·5· ·have another pandemic?                                          ·5· ·Only because I know mine would expire because I let it
·6· · · A.· Please.                                                  ·6· ·expire, you know I mean, too circumstance -- too many
·7· · · Q.· So, talking about this situation, this                   ·7· ·circumstances in that question.
·8· ·hypothetical, where somebody's voter identification             ·8· · · Q.· Okay.· Let me ask a different hypothetical, then.
·9· ·numbers on the application don't match what they have in        ·9· ·Should -- should the legislature require that voters
10· ·their registration file.· If the Texas legislature              10· ·have the ability to go online and correct information on
11· ·required an opportunity -- strike that --                       11· ·their file that they got wrong?
12· · · · · If the Texas legislature required that the clerk         12· · · · · · · ·MS. SIFUENTES-DAVIS:· Objection, form.
13· ·notify you and give you the chance to correct it, would         13· · · A.· I personally would love it if we could register
14· ·that help you?                                                  14· ·online to vote and -- but again, you know, for me, it's
15· · · A.· Of course.                                               15· ·an accessibility issue.· I wouldn't have to write it, I
16· · · Q.· Okay.· And I'm going to give you another                 16· ·could just, you know, send it out over the computer.· So
17· ·hypothetical question.· Let's say that a voter's                17· ·it's just a matter of preference and accessibility.
18· ·personal identification card, maybe their driver's              18· · · Q.· (BY MR. HERBERT)· Of course.· And I'm sorry, I
19· ·license, has been -- it is -- strike that --                    19· ·don't mean to press back.· I just -- just to clarify,
20· · · · · Let's say that a person's personal identification        20· ·you had mentioned, you know, you'd love the ability to
21· ·card, for example, a driver's license, has expired.             21· ·register online.· I just want to make sure we're talking
22· ·Should that person be able to still use that number even        22· ·about registering, or rather, that we're talking about
23· ·if it's expired?                                                23· ·applying to vote by mail or voting by mail.· And so,
24· · · A.· I don't even know the legality with that, so I           24· ·with regards to that, would it be helpful for you if the
25· ·can't answer that.                                              25· ·Texas legislature required that there be an online way

                                                          Page 71                                                            Page 73
·1· · · Q.· Okay.· Let me try and ask something slightly             ·1· ·for voters to go on and correct or enter information?
·2· ·different, then.                                                ·2· · · A.· For voter registration?
·3· · · · · Let's say that somebody tries to vote by mail,           ·3· · · Q.· I'm sorry, that's what I'm just trying to
·4· ·and let's say that she fills out her mail-in ballot             ·4· ·clarify.· So for applications to vote by mail --
·5· ·after receiving it, and her driver's license has                ·5· · · A.· Oh, okay.
·6· ·expired.· Would it -- would you find it helpful in that         ·6· · · Q.· -- would it be good for the Texas legislature to
·7· ·scenario for you still to be allowed to use that expired        ·7· ·require that there be an online way for you to go on and
·8· ·driver's license number for purposes of voting by mail?         ·8· ·correct information?
·9· · · A.· I can't really speak to that, because we don't           ·9· · · A.· Yes.
10· ·know why they haven't gotten it renewed.· It could be           10· · · Q.· Okay.· And I'm almost running out of
11· ·suspended or some other legal reason, so I really               11· ·hypotheticals, but I got another one for you.· Well,
12· ·couldn't speak to that.· If it were me, and the person          12· ·actually -- okay.· So I know this is probably a
13· ·called me and said, Your license is expired; do you have        13· ·redundant question.· I just want to make sure that we're
14· ·another form of identification, because we can accept           14· ·on the same page, though.
15· ·that over the phone, then they can take care of it then.        15· · · A.· Uh-huh.
16· ·But we don't know why an expired driver's license would         16· · · Q.· So far in 2022 nobody has rejected your
17· ·be, unless it was -- I don't know all the legal                 17· ·signature, right?
18· ·ramifications.                                                  18· · · A.· Correct.
19· · · Q.· Of course.· I'm not trying to ask you that. I            19· · · Q.· And when you voted in person, dropping your -- or
20· ·just meant for your own personal use, would that be             20· ·strike that --
21· ·helpful?· So I guess my question is:· You wouldn't find         21· · · · · Rather, in 2020, the November general election,
22· ·that necessary, to be able to use your expired driver's         22· ·when you went and dropped off your ballot in person --
23· ·license; is that right?                                         23· · · A.· Yes.
24· · · A.· Right.                                                   24· · · Q.· -- nobody rejected your signature, right?
25· · · Q.· But would it hurt you, personally, to have that          25· · · A.· Correct.


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      Case5:21-cv-00844-XR
           5:21-cv-00844-XR Document 800-11
                                     810-5 Filed 10/20/23
                                                 10/12/23 Page
                                                           Page22
                                                                14ofof39
                                                                       25
Nancy Crowther                                                                                                     June 17, 2022
                                                                                                                  Pages 74 to 77
                                                          Page 74                                                             Page 76
·1· · · Q.· Okay.· Okay.· I do have more hypotheticals for          ·1· ·through the mail or in a box, in the entire county is a
·2· ·you.· Let's say that a voter voted early by mail, and          ·2· ·concern.
·3· ·let's say that her ballot had a defect in it.· It would        ·3· · · Q.· So it sounds like two, two concerns; mail and
·4· ·be good if she had the chance to correct that defect,          ·4· ·drop offs.
·5· ·right?                                                         ·5· · · A.· And also the signature and anticipating whether
·6· · · A.· Which defect -- I personally got the wrong ballot       ·6· ·or not you're going to be applying by mail or if you're
·7· ·one time.· It wasn't my defect.                                ·7· ·going to go in person.· It's a big difference between
·8· · · Q.· Fair enough.· Fair enough.· I guess my question         ·8· ·the two, and when push comes to shove, I'd rather go in
·9· ·is just a little bit different.· Just a hypothetical           ·9· ·person.
10· ·first.· So I'm not accusing you --                             10· · · Q.· Okay.· So we'll talk about in person.· I don't
11· · · A.· Right.                                                  11· ·mean to cut you off from that.
12· · · Q.· -- of messing up your ballot.· But I'm saying           12· · · A.· Right.
13· ·let's say somebody else had a defect in hers.· Let's say       13· · · Q.· But I'm just trying to make sure that I have a
14· ·she voted early by mail, and let's say that there was a        14· ·full sense of what you're concerned about with
15· ·defect in her ballot.· She should still have the chance        15· ·vote-by-mail specifically.· So we had already talked
16· ·to correct that defect, right?                                 16· ·about the signatures a little bit.
17· · · A.· What kind of defect?                                    17· · · A.· Right.
18· · · Q.· Well, let's say she wrote the wrong number; it's        18· · · Q.· Do you have any other concern about the signature
19· ·a typo.· She should have the chance to correct that,           19· ·requirement for voting by mail, or do you feel that
20· ·right?                                                         20· ·you've explained your -- okay.
21· · · A.· Certainly.                                              21· · · · · So then you had mentioned issues with voting by
22· · · Q.· So if the Texas legislature passed a law that           22· ·mail and the actual mail itself, USPS --
23· ·required the early voting ballot board to tell somebody        23· · · A.· Uh-huh.
24· ·that, Hey, your ballot is defective.                           24· · · Q.· -- and then you'd also mentioned issues of voting
25· · · · · And to do that in time for that person either to        25· ·by mail and the drop box.

                                                        Page 75                                                                  Page 77
·1· ·correct it or to go vote in person, would that resolve         ·1· · · A.· Right.
·2· ·some of those concerns with SB1?                               ·2· · · Q.· Okay.· So for the mail issue, as in -- for the
·3· · · · · · · ·MS. SIFUENTES-DAVIS:· Objection, form.             ·3· ·USPS issue -- let's call it that, right?
·4· · · A.· In order for the vote to be cast --                     ·4· · · A.· Uh-huh.
·5· · · Q.· (BY MR. HERBERT)· So I can restate it.· Would           ·5· · · Q.· You would agree that SB1 has no effect on that,
·6· ·that be helpful?                                               ·6· ·right?
·7· · · A.· Yeah that would be helpful, yes.                        ·7· · · A.· It does have an effect on that.
·8· ·Hypotheticals --                                               ·8· · · Q.· Okay.· Tell me how SB1 affects your ability to
·9· · · Q.· Yeah, I'm sorry to bog you down with these.· I'll       ·9· ·mail something by the USPS?
10· ·try and make them a little bit slimmer.                        10· · · A.· Well, the -- to me, I don't find it safe to mail
11· · · · · Okay.· You had said that if somebody has a ballot       11· ·something as important as a ballot, or with a vote in
12· ·in her -- I'm sorry.· Strike that --                           12· ·it, through a system that is not reliable.
13· · · · · If somebody had a defect in her ballot, she             13· · · Q.· Is the system not reliable because of SB1, or
14· ·should have had the chance to fix it, right?                   14· ·because of other reasons?
15· · · A.· Correct.                                                15· · · A.· The system become unreliable during the changes
16· · · Q.· And so I'm saying, you would agree that if the          16· ·in the lawmaking for mail delivery that related to --
17· ·Texas legislature passed a law requiring that she has a        17· ·and I mean, we're going to go all over the place, but it
18· ·chance to fix that defect, that would be a good thing,         18· ·does all come back to SB1, because it goes back out to
19· ·right?                                                         19· ·mailing, so it is all inter-related and a catch-22-type
20· · · A.· Yes.                                                    20· ·situation.
21· · · Q.· Okay.· Do you have any concerns about -- strike         21· · · Q.· But you can vote by mail through the USPS before
22· ·that --                                                        22· ·SB1, right?
23· · · · · Do you have any other concerns about voting by          23· · · A.· Yes.
24· ·mail under SB1, moving forward?                                24· · · Q.· Okay.· And you can vote by mail through the USPS
25· · · A.· I believe the delivery system, whether it be            25· ·after SB1, right?


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     Case
      Case5:21-cv-00844-XR
           5:21-cv-00844-XR Document 800-11
                                     810-5 Filed 10/20/23
                                                 10/12/23 Page
                                                           Page23
                                                                15ofof39
                                                                       25
Nancy Crowther                                                                                                      June 17, 2022
                                                                                                                   Pages 78 to 81
                                                             Page 78                                                             Page 80
·1· · · A.· I could, if I chose.                                       ·1· ·County, and I had to hunt that one down, because there
·2· · · Q.· Okay.· So then my questions is --                          ·2· ·were initially going to be four, and then they shrunk it
·3· · · A.· My -- I'm sorry.                                           ·3· ·down to one.· So once you find that, you have to figure
·4· · · · · My hesitancy is, prior to SB1, I felt more free            ·4· ·out how you're going to get there, who's going to go
·5· ·to do it, whereas now, after SB1, I feel as if it's more          ·5· ·with you if you need someone to go with you, what you're
·6· ·difficult because of the stress it puts on the voter to           ·6· ·going to need, what the weather is, how much time it's
·7· ·make sure everything gets done right for that one single          ·7· ·going to take, and that's just -- it's a big issue.
·8· ·vote to get to be counted.                                        ·8· · · Q.· Okay.· You had mentioned earlier -- all right.
·9· · · Q.· Okay.                                                      ·9· ·Let me make sure I get this right.· Okay.· I think we
10· · · A.· And --                                                     10· ·can put a pin in the vote-by-mail questions for now.
11· · · Q.· Sorry.                                                     11· ·Let's move on to talk about -- I might have us come back
12· · · A.· -- so I have to anticipate things differently              12· ·and ask a little bit more about that, if I can remember
13· ·than you would.· You can fill it out, throw it in the             13· ·my question.· But let's talk a little bit about your
14· ·mailbox, and go.· Me, I have to get help.· I have to do           14· ·attendant and actually going and voting in person.· Has
15· ·this.· I have to do that, and it's a lot harder for me.           15· ·SB1 hampered your ability to have help at the polls?
16· ·So now, the tension is higher because now we have a new           16· · · A.· With my attendant, I feel that at -- you know,
17· ·law, so --                                                        17· ·having to sign whatever the paperwork is puts her more
18· · · Q.· Okay.· So I'm -- I guess what I'm trying to get            18· ·in a position of -- of -- I don't want to say danger,
19· ·at is that -- and I'm not trying to put words in your             19· ·but in a position that, frankly, they aren't paid for,
20· ·mouth, so please do correct me if I'm wrong, but it               20· ·you know.· They're not paid to -- you know, they're here
21· ·seems that there are independent concerns that you have           21· ·to help me do whatever I need done and -- but now it's
22· ·with the USPS, which the Texas legislature does not               22· ·become a big issue on who's helping you and what they
23· ·control, on the one hand, and then you also have                  23· ·can help you do.· Now, I've already talked about what I
24· ·concerns about what voting by mail looks like under SB1;          24· ·can and cannot do, and that's just where I'm at now.· In
25· ·is that right?                                                    25· ·a year or so, who knows where I'll be at.· It will be

                                                             Page 79                                                             Page 81
·1· · · A.· Yes.                                                       ·1· ·worse.· My needs will be more, so -- but I don't want to
·2· · · Q.· Okay.· So you would agree that the Texas                   ·2· ·put my attendant, who I value greatly, into that type of
·3· ·legislature has no effect on the USPS's quality of                ·3· ·a situation where, God forbid, you know, they should be
·4· ·service, right?                                                   ·4· ·whatever the legal ramifications are for overstepping
·5· · · A.· In all actuality, if you're going to do a mail-in          ·5· ·the bounds of the requirements of SB1 to pick up my
·6· ·vote, you have to go through the USPS; is that correct?           ·6· ·ballot off the floor because I dropped it.
·7· · · Q.· You're asking me questions, now.                           ·7· · · Q.· Right.
·8· · · A.· I'm saying that, yeah, it has an effect, because           ·8· · · A.· I mean, it's just not fair.
·9· ·it changes people's trust level on whether or not they            ·9· · · Q.· Okay.· Let's talk a bit about this.· As we get
10· ·want to go through mail ballots or in person, if they             10· ·into it, I just want to introduce a brief exhibit, just
11· ·can, or if they have to go to a drop box.                         11· ·to make sure I understand the whole universe of things
12· · · Q.· Okay.· So just to make sure I'm understanding,             12· ·here.
13· ·you're saying that, yes -- when you say yes, you're               13· · · · · I'm going to mark this exhibit as
14· ·saying, Yes the Texas legislature does have an effect on          14· ·Exhibit Number 9.
15· ·the USPS's mail service, right?                                   15· · · · · · · ·(Exhibit 9 marked.)
16· · · A.· Yes.                                                       16· · · Q.· (BY MR. HERBERT)· So this is a Texas Tribune
17· · · Q.· Okay.· So then, can you explain to me also now --          17· ·article from February 16, 2022.· Do you see at the top,
18· ·you had mentioned a drop box issue when it comes to               18· ·the title reads, "Texans with disabilities fear new
19· ·vote-by-mail.                                                     19· ·restrictions on voting could help" -- strike that --
20· · · · · What is your qualm with Senate Bill 1's effect on          20· ·sorry.· Let me reread that.
21· ·drop boxes, if any?                                               21· · · · · Do you see at the top where it reads, "Texans
22· · · A.· I'm not real sure when it all changed, but the             22· ·with disabilities fear new restrictions on voting help
23· ·drop -- the number of polling places, the drop boxes for          23· ·could mean criminal charges at polls."
24· ·mail-in ballots, all shrank in number, in access.· And            24· · · · · Did I read that right?
25· ·so now -- now I say, because I only found one in Travis           25· · · A.· That's correct.

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     Case
      Case5:21-cv-00844-XR
           5:21-cv-00844-XR Document 800-11
                                     810-5 Filed 10/20/23
                                                 10/12/23 Page
                                                           Page26
                                                                16ofof39
                                                                       25
Nancy Crowther                                                                                                      June 17, 2022
                                                                                                                   Pages 90 to 93
                                                        Page 90                                                                  Page 92
·1· · · · · · · ·MS. SIFUENTES-DAVIS:· Objection, form.               ·1· ·for the help that your attendant might provide you in
·2· · · A.· Correct.                                                  ·2· ·the future?
·3· · · Q.· (BY MR. HERBERT)· Okay.· And did you consult a            ·3· · · A.· Yes.
·4· ·lawyer about this question?                                      ·4· · · Q.· So you --
·5· · · A.· No.                                                       ·5· · · A.· I knew some of it, but I'm not a lawyer, and
·6· · · Q.· Did you talk to anybody from the Secretary of             ·6· ·so -- again, it's like, you have to -- you have to know
·7· ·State's Office?                                                  ·7· ·the law before you get into the voting poll, and I
·8· · · A.· No.                                                       ·8· ·didn't know everything, but I knew that segment.
·9· · · Q.· Did you talk to the Texas Secretary of State              ·9· · · Q.· Okay.· But you also said that it was an advocacy
10· ·himself?                                                         10· ·group who told you about the potential legal
11· · · A.· No.                                                       11· ·consequences, right?
12· · · Q.· Did you check the secretary of state website?             12· · · A.· Right.
13· · · A.· No.                                                       13· · · Q.· And you also said that you learned about the
14· · · Q.· Did you talk to -- did you ask anybody from an            14· ·potential legal consequences while you were voting.
15· ·advocacy group about this question?                              15· · · A.· Right.
16· · · A.· That's possibly where I learned the information           16· · · Q.· So then, was the advocacy group there while you
17· ·on the ramifications of this requirement, or potential           17· ·were voting?
18· ·ramifications.· And, frankly, my life depends on my              18· · · A.· No, during the voting time.· You know, the
19· ·attendant, and I'll protect them in any way I need to.           19· ·open -- absentee voting time, those two-weeks?· That was
20· · · · · So whatever it has to do with, knowing the law --         20· ·when I learned about it.
21· ·you know, you don't run red lights, but I didn't consult         21· · · Q.· Okay.· So I'm just trying to make sure I
22· ·the Secretary of State on that.· So I just want to               22· ·understand, because you had also said that you could
23· ·protect those that are taking care of me.                        23· ·only learn about these things once you were at the
24· · · Q.· Do you remember the advocacy group that you               24· ·polling location voting, right?
25· ·believe may have given you this information?                     25· · · A.· Well, I'm talking about when you get ready to go

                                                            Page 91                                                             Page 93
·1· · · A.· It could have been Adapt.· It could have been             ·1· ·vote, you got to know who you're voting for, right?
·2· ·REVUP.· It could have been one of my others.· AARP, we           ·2· ·These are all things you have to prepare for.· You need
·3· ·talk about that a lot.                                           ·3· ·to know where your polling place is; you need to know
·4· · · Q.· Okay.· But you can't say for sure?                        ·4· ·how you're going to get to the polling place; you've got
·5· · · A.· No.                                                       ·5· ·to figure out if someone is going to drive you to the
·6· · · Q.· That's okay.                                              ·6· ·polling place, all those things.· So I don't know how I
·7· · · A.· No.· Too many conversations.                              ·7· ·would know what would apply, until I was at the polling
·8· · · Q.· Fair enough.                                              ·8· ·place, to anticipate that ramification of that part of
·9· · · · · Did you talk to the Travis County election                ·9· ·the bill.· And then it was like, Oh, maybe I shouldn't
10· ·administrator about this question?                               10· ·have them here.
11· · · A.· No.· It's actually -- you know, in light of these         11· · · Q.· Okay.· So to clarify -- and please correct me if
12· ·questions, I'm thinking, you would have to have already          12· ·I'm wrong -- you were aware of potential legal
13· ·been within the -- the confines of the voting area to            13· ·consequences for your attendant during the early voting
14· ·go, Oh, is that a problem?                                       14· ·period, but before you actually went in person to cast a
15· · · · · So you would have to anticipate all this prior to         15· ·vote; is that right?
16· ·getting there.                                                   16· · · A.· Yes.
17· · · Q.· When did you first learn about the potential              17· · · Q.· Okay.· So with that in mind, before you went in
18· ·legal consequences that you believe your attendants              18· ·to vote -- just to be clear and double-check, and please
19· ·might face from SB1?                                             19· ·correct me if I'm wrong -- you did not talk to a lawyer;
20· · · A.· After SB1 was passed.                                     20· ·is that right?
21· · · Q.· Did you learn about it before you went to vote?           21· · · A.· No.
22· · · A.· May have.· I don't recall when I learned it.              22· · · Q.· And you did not talk to anyone from the office of
23· · · Q.· So why did you -- did you learn it the first time         23· ·the secretary of state; is that right?
24· ·that you voted in the March 2022 Democratic primary,             24· · · A.· No.
25· ·that you believe that there may be legal consequences            25· · · Q.· And you did not check the secretary of state's


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210-697-3400                                                                                                    210-697-3408               YVer1f
      Case
       Case5:21-cv-00844-XR
            5:21-cv-00844-XR Document 800-11
                                      810-5 Filed 10/20/23
                                                  10/12/23 Page
                                                            Page27
                                                                 17ofof39
                                                                        25
Nancy Crowther                                                                                                       June 17, 2022
                                                                                                                    Pages 94 to 97
                                                              Page 94                                                             Page 96
·1· ·website; is that right?                                            ·1· ·understanding you.
·2· · · A.· Correct.                                                    ·2· · · A.· Yeah.
·3· · · Q.· And you did not talk to the Travis County                   ·3· · · Q.· One of the concerns that you have is that if the
·4· ·election administrator?· You did not call them up; is              ·4· ·company that your attendants are typically employed by,
·5· ·that right?                                                        ·5· ·if they found out that your attendants had broken a law
·6· · · A.· That's correct.                                             ·6· ·in providing you help at the polls, you believe that the
·7· · · Q.· And setting all of that aside now, do you know of           ·7· ·company might fire them; is that right?
·8· ·any attendants -- or do you know of anybody -- strike              ·8· · · A.· That's correct.
·9· ·that --                                                            ·9· · · Q.· Okay.· If there were an exception in
10· · · · · Do you know anybody who, since SB1 has been                 10· ·Senate Bill 1 that expressly said that, Hey, attendants
11· ·enacted, has been prosecuted or faced legal consequences           11· ·or caregivers -- you can get help from attendants and
12· ·for providing help to disabled voters at the polls?                12· ·caregivers under SB1, and it doesn't matter whether
13· · · A.· I only know my own situation and have not --                13· ·they're compensated or whether they're paid?
14· ·everything else is hearsay, so I haven't heard anything.           14· · · · · Would that make you feel better?
15· · · Q.· Okay.· So to be clear, you don't know of anybody            15· · · · · · · ·MS. SIFUENTES-DAVIS:· Objection, form.
16· ·who's been prosecuted under SB1 --                                 16· · · A.· Would they still need to sign the form?
17· · · A.· Huh-uh.                                                     17· · · Q.· (BY MR. HERBERT)· Let me try this hypothetical a
18· · · Q.· -- right?                                                   18· ·little bit differently.
19· · · A.· That's correct.                                             19· · · · · Let's say that if the Texas legislature were to
20· · · Q.· Okay.· Have -- strike that --                               20· ·pass a law saying that, at least with respect to the
21· · · · · Your assisters are paid, right?                             21· ·question of being paid -- just talking about being
22· · · A.· My sisters?                                                 22· ·paid -- that it's okay for people to help you at the
23· · · Q.· Strike that -- excuse me.· I'll enunciate a                 23· ·polls, who are being paid to do so, so long as they're
24· ·little bit better.                                                 24· ·your attendants or your caregivers.
25· · · · · Your attendants, they're salaried; is that right?           25· · · · · Would that alleviate some of your concerns?

                                                        Page 95                                                                   Page 97
·1· · · A.· Yes.                                                        ·1· · · · · · · ·MS. SIFUENTES-DAVIS:· Objection, form.
·2· · · Q.· Okay.· And in the past, in 2020 and before SB1,             ·2· · · A.· It really doesn't matter if they're paid or
·3· ·your attendants were paid, right?                                  ·3· ·unpaid.· They're providing me in this, some assistance.
·4· · · A.· Yes.                                                        ·4· ·And they still had to sign an oath of some sort --
·5· · · Q.· And after 2020, this year, here in 2022, your               ·5· · · Q.· Okay.
·6· ·attendants are still paid; is that right?                          ·6· · · A.· -- to -- so, I mean, I can't answer that
·7· · · A.· Yes.                                                        ·7· ·truthfully or honestly.
·8· · · Q.· Okay.· Does that element, that they are paid,               ·8· · · Q.· Did your attendants not have to provide an oath
·9· ·does that cause you any concern -- strike that -- let me           ·9· ·in the past?
10· ·reiterate.                                                         10· · · A.· No.
11· · · · · Does the fact that your attendants are paid make            11· · · Q.· So the oath requirement under SB1 is something
12· ·you fear that they might face legal consequences under             12· ·new that your attendants would have to do moving
13· ·SB1?                                                               13· ·forward; is that right?
14· · · A.· No.                                                         14· · · A.· It's my understandings, yes.
15· · · Q.· Okay.                                                       15· · · Q.· Okay.· Let's talk a little bit about -- let's
16· · · A.· The fact that they could be fired because of any            16· ·talk a little bit about that oath.
17· ·ramifications from that would be my greatest fear.                 17· · · · · What is your specific concern about the oath?
18· · · Q.· Can you elaborate on that a little bit?· What do            18· · · A.· It's a -- from my understanding and my limited
19· ·you mean by the fact that they could be fired?· What are           19· ·legal background, it would be a legal document that has
20· ·you referring to there?                                            20· ·their signature and could jeopardize -- if something
21· · · A.· Because they broke a law that the State just                21· ·were to happen, could jeopardize their well-being.
22· ·made.                                                              22· · · Q.· Is it -- are you concerned -- and again, please
23· · · Q.· I see.                                                      23· ·correct me if I'm wrong.· I'm just trying to understand
24· · · A.· Potentially.                                                24· ·your concern with those.· Are you concerned that the
25· · · Q.· So let me just clarify to make sure I'm                     25· ·oath that they would sign prevents them from giving you


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210-697-3400                                                                                                     210-697-3408               YVer1f
     Case
      Case5:21-cv-00844-XR
           5:21-cv-00844-XR Document 800-11
                                     810-5 Filed 10/20/23
                                                 10/12/23 Page
                                                           Page30
                                                                18ofof39
                                                                       25
Nancy Crowther                                                                                                    June 17, 2022
                                                                                                               Pages 106 to 109
                                                           Page 106                                                         Page 108
·1· · · A.· I do take issue that there's an oath that they            ·1· ·deposition of Keith Ingram, the director of the
·2· ·have to sign.· We haven't had to do it in the past,              ·2· ·elections division of the Texas Secretary of State.
·3· ·although it was there, and I really don't know what the          ·3· · · · · I'm going to have to you turn to Page 2 of the
·4· ·contents of that oath was, that we -- we never had               ·4· ·document.· On this page, I'm gonna have you look at
·5· ·opportunity to view.· I mean, in my thought, we hadn't           ·5· ·Line No. 13.· And you'll see a question, and it reads,
·6· ·had to sign it because it wasn't enforced, so I don't            ·6· ·"If a voter asks an assister to provide physical
·7· ·remember what was on it, if there was anything on it.            ·7· ·assistance in attaching an assistive device to a voting
·8· · · Q.· Okay.· Now --                                             ·8· ·machine" --
·9· · · A.· And now I know what this SB1 oath says.                   ·9· · · A.· Hold on.
10· · · Q.· Okay --                                                   10· · · Q.· Oh, I'm sorry.· I'll stop.
11· · · A.· Because it shows that it's new.                           11· · · A.· I don't think we have the same --
12· · · Q.· Okay.· And I apologize for going on and on about          12· · · Q.· Oh, it's very confusingly paginated.· I apologize
13· ·this, Ms. Crowther --                                            13· ·for that.
14· · · A.· No.                                                       14· · · · · So if you look at the cover page and you flip to
15· · · Q.· -- I'm really not trying to.· I just want to make         15· ·the next page, it's -- at the top right, you'll see it's
16· ·sure that I really understand what your qualms are.              16· ·internally paginated, Page 60.· Top right.
17· · · A.· No.                                                       17· · · A.· Okay.· Bottom.
18· · · Q.· And so it sounds like you just said that you              18· · · Q.· Oh, and bottom right, too.· There you go.
19· ·still are concerned by the fact that there even is an            19· · · A.· Okay.
20· ·oath that would be enforced, regardless of what the oath         20· · · Q.· Bottom right, it says Page 60.
21· ·said, the very fact that there is an oath.                       21· · · A.· Okay.
22· · · A.· It's not --                                               22· · · Q.· I apologize for that.· I just gave you an excerpt
23· · · Q.· Or is it the case that it's not so much that              23· ·so we don't have to go through the whole thing.
24· ·there is an oath, it's more about what the oath says?            24· · · A.· Okay.
25· · · A.· Yes.                                                      25· · · Q.· So if you look on this page at Line 13, on the

                                                           Page 107                                                            Page 109
·1· · · Q.· Okay.· So it's the latter of the two?                     ·1· ·left-hand side, you'll see there are numbers.
·2· · · A.· I believe it might be the latter, if I understand         ·2· · · A.· Yes.
·3· ·correctly.· And it just depends on the requirements of           ·3· · · Q.· Number 13.· It reads -- the question -- it reads,
·4· ·the oath.                                                        ·4· ·"If a voter asks an assister to provide physical
·5· · · Q.· Okay.· So it's not so much that there is an oath,         ·5· ·assistance in attaching an assistive devise to a voting
·6· ·it's what does that oath prevent your attendants from            ·6· ·machine and to confirm once the device is attached,
·7· ·doing; is that right?                                            ·7· ·would the assister violate the oath if she did so?"
·8· · · · · · · ·MS. SIFUENTES-DAVIS:· Objection, form.               ·8· · · · · Did I read that correctly?
·9· · · A.· It's what it would prevent them from doing.               ·9· · · A.· Yes.
10· · · Q.· (BY MR. HERBERT)· So is that is "yes"?                    10· · · Q.· And just below that, on Line No. 19, there's an
11· · · A.· Yes.                                                      11· ·answer.· It reads, quote, "No."
12· · · Q.· So let's talk about that.· I'm going to introduce         12· · · · · And following that, beginning on Lines 20 to 21,
13· ·another exhibit, and I promise you, we are getting               13· ·there's another question, and it reads, "Is this
14· ·toward the end of the exhibits, here.                            14· ·consistent with the plain language of the oath" -- and
15· · · · · This is -- I'm going to mark this exhibit as              15· ·it continues on to Line 23 -- "under SB1."
16· ·Exhibit No. 10.                                                  16· · · · · And then in Line 25, the answer reads, "It is."
17· · · · · · · ·(Exhibit 10 marked.)                                 17· · · · · Did I represent that accurately?
18· · · · · · · ·MR. HERBERT:· I also see that we're getting          18· · · A.· If -- that's what this says, yeah.
19· ·close to about an hour from when we started; is that             19· · · Q.· Okay.· So you would agree that the office of the
20· ·right?                                                           20· ·Texas Secretary of State says that the oath provision
21· · · · · · · ·MS. SIFUENTES-DAVIS:· Yeah.· Do you want to          21· ·under SB1 does not prevent you from receiving physical
22· ·ask questions about this exhibit and then take a break?          22· ·assistance, right?
23· · · · · · · ·MR. HERBERT:· Yeah, that would be perfect.           23· · · · · · · ·MS. SIFUENTES-DAVIS:· Objection, form.
24· ·This shouldn't take too long.                                    24· · · A.· They can assist with physical help with the
25· · · Q.· (BY MR. HERBERT)· So this is a copy of the                25· ·machine; that is correct.


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     Case
      Case5:21-cv-00844-XR
           5:21-cv-00844-XR Document 800-11
                                     810-5 Filed 10/20/23
                                                 10/12/23 Page
                                                           Page31
                                                                19ofof39
                                                                       25
Nancy Crowther                                                                                                     June 17, 2022
                                                                                                                Pages 110 to 113
                                                          Page 110                                                           Page 112
·1· · · Q.· (BY MR. HERBERT)· Okay.· So the oath provision           ·1· ·issues with the oath.
·2· ·under SB1 does not prevent your attendants from giving          ·2· · · Q.· And why is that?
·3· ·you physical assistance in the future, right?                   ·3· · · A.· Because they're really only doing it to me and my
·4· · · · · · · ·MS. SIFUENTES-DAVIS:· Objection, form.              ·4· ·attendant.· I don't foresee anybody else having to do
·5· · · A.· Correct.                                                 ·5· ·that, and that's an issue for me.
·6· · · Q.· (BY MR. HERBERT)· Okay.· What injury -- strike           ·6· · · Q.· Could you elaborate on that?· I'm not sure that I
·7· ·that --                                                         ·7· ·follow.
·8· · · · · What does the oath provision under SB1 prevent           ·8· · · A.· What I, as a person with a disability, and my
·9· ·your assisters from doing in the future?                        ·9· ·attendant have to do at the polling place.· Nobody else
10· · · A.· This isn't it.· This isn't the oath, correct?            10· ·really has to do that because they don't need the
11· · · Q.· Correct.· I'm having you look at the excerpt of          11· ·assistance.· That's kind of focusing in on my disability
12· ·the deposition transcript --                                    12· ·and, frankly, breaking the line of process -- due
13· · · A.· Okay.                                                    13· ·process, and the line, and everything else, because I
14· · · Q.· -- of Keith Ingram, the director of the elections        14· ·have a disability.
15· ·for the Texas Secretary of State.· We can set this              15· · · Q.· Okay.· So, please correct me if I'm wrong, but it
16· ·aside.· We had previously been looking at another               16· ·sounds to me like you're saying that if the new oath
17· ·exhibit, which is the enacted Senate Bill 1 itself.             17· ·allowed your attendant to give you physical assistance
18· ·That's Exhibit No. 7, which we had been looking at.             18· ·at the polls, and whatever else assistance that you need
19· · · A.· Okay.                                                    19· ·at the polls, that would fix some of the problems, but
20· · · Q.· So I'm not asking you about the transcript               20· ·there would still be the problem that your attendant
21· ·anymore.· What I'm asking is:· What are you concerned --        21· ·even has to take an oath under SB1; is that right?
22· ·under the new -- strike that --                                 22· · · A.· That's correct.
23· · · · · What are you concerned about the new oath under          23· · · Q.· Okay.· Let's switch gears a little bit.
24· ·SB1 in terms of how it will prevent your attendants from        24· · · · · · · ·MS. SIFUENTES-DAVIS:· Is now a good stopping
25· ·giving you the help that you need in the future?                25· ·point?

                                                        Page 111                                                                 Page 113
·1· · · A.· To my understanding, there are four major things         ·1· · · · · · · ·MR. HERBERT:· Oh, yes, it is.· It is a good
·2· ·they can help you with.· They can read the information          ·2· ·stopping point.· Thank you so much.· I didn't mean to --
·3· ·to you; they can, I think, ask you -- now, this is just         ·3· ·I lost track of time.· Let's go off the record.
·4· ·my understanding -- ask you which position the person           ·4· · · · · · · ·THE VIDEOGRAPHER:· We are off the record at
·5· ·wants to vote on if they have trouble doing it; and             ·5· ·2:10 p.m.
·6· ·then -- and then go through the choices that the person         ·6· · · · · · · ·THE VIDEOGRAPHER:· We are back on the record
·7· ·made, but can't make it for them; and then, you can't           ·7· ·at 2:24 p.m.
·8· ·change anything or -- what was it? -- falsely change any        ·8· · · Q.· (BY MR. HERBERT)· So, your attendants drove you
·9· ·votes, I believe.                                               ·9· ·to the polls in the May 2022 Democratic primary runoff
10· · · · · It all has to do with using the screen and not           10· ·election; is that right?
11· ·with, really, the whole layout and the whole process            11· · · A.· Yes.
12· ·getting it.· So, I can't reach the screen, so I have to         12· · · Q.· Okay.· And that was after Senate Bill 1 was in
13· ·use the control.· My concern is eventually I can't do           13· ·effect, right?
14· ·that, and they have to read it out loud, that it won't          14· · · A.· Yes.
15· ·become a private vote anymore; it will become an                15· · · Q.· So Senate Bill 1 has not affected your ability to
16· ·everybody-can-hear-it kind of vote.· And that's --              16· ·be driven to the polls, right?
17· ·that's one of my issues.                                        17· · · A.· Actually, it has affected my ability to find out
18· · · · · But what if they do something outside of that            18· ·where my polling place is.
19· ·type of assistance?· That worries me.                           19· · · Q.· Okay.· Sorry, I'm just going to object as
20· · · Q.· And if you had some assurance from the Texas             20· ·nonresponsive.
21· ·legislature or from the Texas Secretary of State that           21· · · A.· I'm sorry.
22· ·they were still allowed to provide you physical                 22· · · Q.· That's okay.· We can -- I want to talk about
23· ·assistance?· Would that resolve your concerns with the          23· ·that, but my question is just a little different.
24· ·oath?· Not with everything else, but with the oath?             24· · · A.· Yeah, because --
25· · · A.· I would still have to say it would not resolve my        25· · · Q.· So my question is -- to reiterate -- your


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     Case
      Case5:21-cv-00844-XR
           5:21-cv-00844-XR Document 800-11
                                     810-5 Filed 10/20/23
                                                 10/12/23 Page
                                                           Page32
                                                                20ofof39
                                                                       25
Nancy Crowther                                                                                                     June 17, 2022
                                                                                                                Pages 114 to 117
                                                          Page 114                                                              Page 116
·1· ·attendants drove you to the polls in the March 20 --            ·1· · · · · This is a copy of the Texas Election Code,
·2· ·pardon me -- in the May 2022 Democratic primary runoff          ·2· ·specifically Chapter 11, and I would like you to look at
·3· ·election, right?                                                ·3· ·the very last section, which is on the very last page.
·4· · · A.· Yes.                                                     ·4· ·So you can literally just flip it all over, because it
·5· · · Q.· Okay.· And SB1 was in effect at that time,               ·5· ·is double-sided.
·6· ·correct?                                                        ·6· · · · · Do you see the top line, where it reads,
·7· · · A.· Yes.                                                     ·7· ·"Section 1.022, Reasonable Accomodation or
·8· · · Q.· Okay.· So the act of driving you to the polls,           ·8· ·Modification"?
·9· ·SB1 did not affect your ability -- or the ability of            ·9· · · · · · · ·(Exhibit 11 marked.)
10· ·your attendants to do that; is that right?                      10· · · A.· Uh-huh.
11· · · A.· Correct.                                                 11· · · Q.· (BY MR. HERBERT)· Okay.· This section reads, "A
12· · · Q.· Okay.· Now, you had mentioned that SB1 affected          12· ·provision of this code may not be interpreted to
13· ·your ability to find poll locations, right?                     13· ·prohibit or limit the right of a qualified individual
14· · · A.· Yes.                                                     14· ·with a disability from requesting a reasonable
15· · · Q.· You had just said that, I believe?                       15· ·accommodation or modification to any election standard
16· · · A.· Yes.                                                     16· ·practice or procedure mandated by law or rule that the
17· · · Q.· Could you tell me a little bit about that?               17· ·individual is entitled to request under federal or state
18· · · A.· There used to be a lot of polling places that            18· ·law."
19· ·were very close to me, within blocks.· I mean, three            19· · · · · Did I read that accurately?
20· ·different locations where I could just roll and be more         20· · · A.· Yes.
21· ·independent.· And now I either have to take a bus to it         21· · · Q.· Did you know that Texas's election law prohibits
22· ·or have my attendant drive.· And on that particular one,        22· ·election authorities from denying voters reasonable
23· ·I believe it was at that school recreation center, we           23· ·accommodations?
24· ·had to drive, because there wasn't any bus service.· So         24· · · · · · · ·MS. SIFUENTES-DAVIS:· Objection, form.
25· ·those are three main ways for me to get to my voting            25· · · A.· It may prohibit them.· It doesn't mean it doesn't

                                                         Page 115                                                                Page 117
·1· ·location.                                                       ·1· ·happen.
·2· · · Q.· Okay.· So you're saying that you noticed that            ·2· · · Q.· (BY MR. HERBERT)· Have you yourself ever been
·3· ·there are fewer polling locations near you; is that             ·3· ·denied an accommodation that you requested?
·4· ·right?                                                          ·4· · · A.· When you're outside the building, it's hard to
·5· · · A.· Yes.                                                     ·5· ·make an accommodation request.· Think about it.· Because
·6· · · Q.· And when did you first notice that?                      ·6· ·if I can't get into a building -- but I think they've
·7· · · A.· Almost -- it seems like it was pretty immediate,         ·7· ·been fairly reasonable in helping or modifying.
·8· ·let's see, 2021.                                                ·8· · · Q.· Okay.· So just to be clear -- and this is not to
·9· · · Q.· The November 2021 election?                              ·9· ·skirt the point that you just raised, because I will ask
10· · · A.· I think so, yeah.                                        10· ·about that, but you have not been denied reasonable
11· · · Q.· Okay.· And that's when you first noticed it?             11· ·accommodation requests before, have you?
12· · · A.· Yeah.                                                    12· · · · · · · ·MS. SIFUENTES-DAVIS:· Objection, form.
13· · · Q.· Did you notice it in the -- you did not notice           13· · · A.· I haven't asked for one.
14· ·that issue in the November 2020 primary; is that                14· · · Q.· (BY MR. HERBERT)· Okay.· You have not asked?
15· ·right -- pardon me -- I'm sorry.· Strike that -- let me         15· · · A.· I've only asked for the piece to come off the end
16· ·rephrase.                                                       16· ·of the voting machine.
17· · · · · You did not notice that in the November 2020             17· · · Q.· Okay.· And that was not denied, was it?
18· ·general election; is that right?· Or did you notice it          18· · · A.· No.
19· ·then, too?                                                      19· · · Q.· Okay.· And have you ever called to request a
20· · · A.· No, because I took -- based on where I was, I            20· ·reasonable accommodation?
21· ·went to the polling place that I knew was there.· If I          21· · · A.· No.
22· ·was at home, then the ones that are closest to my home          22· · · Q.· Okay.· Have you ever relied on somebody else to
23· ·were no longer available.                                       23· ·distribute or give to you an application to vote by
24· · · Q.· Okay.· I'm going to introduce another exhibit,           24· ·mail, or have you just gone online and gotten it
25· ·which I will mark as Exhibit No. 11.                            25· ·yourself?


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210-697-3400                                                                                                   210-697-3408                 YVer1f
     Case
      Case5:21-cv-00844-XR
           5:21-cv-00844-XR Document 800-11
                                     810-5 Filed 10/20/23
                                                 10/12/23 Page
                                                           Page33
                                                                21ofof39
                                                                       25
Nancy Crowther                                                                                                    June 17, 2022
                                                                                                               Pages 118 to 121
                                                          Page 118                                                             Page 120
·1· · · A.· Oh, application for voting by mail?· I have              ·1· · · A.· Because it's just creepy.· That's technical, but
·2· ·gotten it myself online and mailed it in.                       ·2· ·I already have a hard time when people walk by my booth,
·3· · · Q.· And has anybody ever approached you to give you          ·3· ·because I'm short, and they can see over my head as to
·4· ·an application to vote by mail?                                 ·4· ·what my voting is, and it's not private as really I
·5· · · A.· No.                                                      ·5· ·thought private voting should be, so just to have
·6· · · Q.· Okay.· What about for an early voting ballot or          ·6· ·someone watching you is just more nerve-wracking to me.
·7· ·ballot materials?· Has anybody ever approached you to           ·7· · · Q.· So you believe that it's important for voters to
·8· ·give you those things, or have you always, when you've          ·8· ·have the ability to vote in private or in secret; is
·9· ·voted by mail, applied by yourself?                             ·9· ·that right?
10· · · A.· I've applied by myself.                                  10· · · A.· Yes.
11· · · Q.· Okay.                                                    11· · · Q.· Okay.· The secrecy of the ballot prevents voters
12· · · A.· There is one thing about the application by mail         12· ·from being penalized for their vote, right?
13· ·off the computer; it is difficult to read.· My elderly          13· · · A.· Being penalized from their vote?
14· ·neighbor requested one more for me because she knew I           14· · · Q.· For.
15· ·had done it, and I gave it to her not realizing she had         15· · · A.· For their vote.
16· ·a visual impairment.                                            16· · · · · I don't know.
17· · · Q.· Sorry.· I didn't quite follow that.· Are you             17· · · Q.· Well, the secrecy of the ballot protects those
18· ·saying that your elderly neighbor needed help getting an        18· ·from being pressured or coerced or judged into making
19· ·application to vote by mail, and you did it for her?            19· ·certain choices, right?
20· · · A.· I printed one out, and then she told me she              20· · · A.· True.
21· ·couldn't read it, and I went, Oh, no.                           21· · · Q.· Okay.· So the State has a legitimate interest in
22· · · Q.· Do you know if she was able to eventually vote?          22· ·protecting your secrecy and your privacy as a voter,
23· · · A.· Yes.                                                     23· ·right?
24· · · Q.· Okay.· So let me talk about early voting.· And I         24· · · A.· Correct.
25· ·know we're hopping around here a little bit.· But I             25· · · Q.· Okay.· And have you ever experienced any

                                                         Page 119                                                           Page 121
·1· ·assure you that's a good sign.· I'm getting through the         ·1· ·poll-watching behavior that prevented you from or
·2· ·rest of my questions here.· So we're going to hop around        ·2· ·hampered you in casting a vote?
·3· ·a little bit.· Let's talk about early voting a bit.             ·3· · · A.· Not by an official poll watcher, but other
·4· · · · · You would agree that increasing the minimum hours        ·4· ·persons waiting on the booth behind me looking over my
·5· ·for early voting would be a good thing, right?                  ·5· ·head.· But that hasn't prevented me from voting.
·6· · · A.· What -- what do you mean there?                          ·6· · · Q.· Okay.
·7· · · Q.· So, let's say that the minimum early voting hours        ·7· · · A.· But it is very uncomfortable.
·8· ·used to be four per day, that there had to be minimum           ·8· · · Q.· Since the enactment of SB1, has there been any
·9· ·early voting hours, and it would be a good thing to             ·9· ·poll-watching activity that has hampered your ability to
10· ·increase the minimum early voting hours per day.                10· ·vote?
11· · · · · You would agree with that, right?                        11· · · A.· Not that I'm aware of.
12· · · A.· I've always known them to be 7:00 to 7:00.               12· · · Q.· Okay.· On the other hand, you would agree that
13· · · Q.· Okay.· Would it be a good thing to make them even        13· ·the State has a real interest in making sure that the
14· ·more?                                                           14· ·person who's casting the vote is the person who's
15· · · A.· Sure.                                                    15· ·registered to vote, right?
16· · · Q.· Okay.· Let's -- and you don't contend that -- you        16· · · A.· Yes.
17· ·don't think that Senate Bill 1 has hampered your ability        17· · · Q.· Okay.· As well as in ensuring that only those
18· ·to vote early, do you?                                          18· ·people who are eligible to vote do in fact vote, right?
19· · · A.· I don't think so.                                        19· · · A.· Yes.
20· · · Q.· Okay.· Senate Bill 1 has not -- strike that --           20· · · Q.· Okay.· I'd like you to take a look back at
21· · · · · Let's talk about poll watchers.                          21· ·Exhibit Number 8.· That's the Vox article.
22· · · · · Do you believe that poll watchers should be              22· · · A.· Yeah.
23· ·allowed?                                                        23· · · Q.· And if you flip to the 7th page -- and sorry,
24· · · A.· Personally, no.                                          24· ·these are double-sided.
25· · · Q.· Why is that?                                             25· · · A.· Yeah.


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210-697-3400                                                                                                   210-697-3408               YVer1f
     Case
      Case5:21-cv-00844-XR
           5:21-cv-00844-XR Document 800-11
                                     810-5 Filed 10/20/23
                                                 10/12/23 Page
                                                           Page34
                                                                22ofof39
                                                                       25
Nancy Crowther                                                                                                     June 17, 2022
                                                                                                                Pages 122 to 125
                                                          Page 122                                                              Page 124
·1· · · Q.· Okay.· So you're on the page where your section          ·1· · · Q.· Do you believe that poll watchers are allowed to
·2· ·begins.· You flip to the next page.                             ·2· ·do that, to carry a firearm?
·3· · · A.· Uh-huh.                                                  ·3· · · A.· No.
·4· · · Q.· The page after that, the last paragraph in your          ·4· · · Q.· Okay.· So you had said all they -- quote, "All
·5· ·section.                                                        ·5· ·they" -- they being poll watchers -- "have to do now,
·6· · · · · Do you see that?                                         ·6· ·because we're in Texas and it is legal, is have a gun on
·7· · · A.· Yes.                                                     ·7· ·them."
·8· · · Q.· Okay.· It reads, "When it comes to the greater           ·8· · · · · So are you saying that you do not believe that
·9· ·power Republican lawmakers want to give to poll                 ·9· ·poll watchers are allowed to carry a firearm at the
10· ·watchers, yuck.· I am so annoyed about that.· As a              10· ·polls?
11· ·person with disabilities, everyone is already trying to         11· · · A.· Right.
12· ·be your helper.· I don't want people interfering by             12· · · Q.· They are not?
13· ·intimidating voters by their mere presence.· People with        13· · · A.· I'm saying that's all we need now is for them to
14· ·disabilities also have a right to a private vote.· I use        14· ·have a gun on them, meaning they had just passed the law
15· ·a wheelchair, and if someone is standing there, they're         15· ·where you didn't have to have a permit for open carry,
16· ·two or three feet taller than me.· They're towering over        16· ·or whatever it is, and you could carry a gun with it.
17· ·me.· All they have to do now, because we're in Texas and        17· · · Q.· But not --
18· ·it is legal, is have a gun on them.· That is                    18· · · A.· I have seen people with guns, you know.
19· ·intimidation to scare away the voters.· For anybody with        19· · · Q.· But not at a polling location, right?
20· ·a disability or mental illness, it can cause undue              20· · · A.· No.
21· ·stress.· I want my vote to be private, just like                21· · · Q.· And not a poll watcher?
22· ·everyone else."                                                 22· · · A.· No.
23· · · · · Did I read that right?                                   23· · · Q.· Okay.· Do you believe that poll watchers are
24· · · A.· Yes.                                                     24· ·allowed to carry a firearm?· Not as -- in their capacity
25· · · Q.· Okay.· So when you made this statement in                25· ·as a poll watcher, but do you believe that a poll

                                                         Page 123                                                            Page 125
·1· ·July 2021, the date of this article, had you seen a poll        ·1· ·watcher who has the right to carry a firearm may carry a
·2· ·watcher with a firearm at the election polls?                   ·2· ·firearm while he or she is acting as a poll watcher?
·3· · · A.· No.                                                      ·3· · · A.· Personally, I don't think it's appropriate,
·4· · · Q.· Okay.· And since the enactment of SB1, have you          ·4· ·because it is threatening.
·5· ·seen a poll watcher with a firearm at the polls?                ·5· · · Q.· Not quite my question, though.· I appreciate your
·6· · · A.· Not to my knowledge.                                     ·6· ·response, but not quite my question.
·7· · · Q.· Okay.· So since the enactment of SB1, have you           ·7· · · · · Do you believe -- not whether they should, but
·8· ·ever been scared away from voting by a poll watcher?            ·8· ·whether they are allowed.· Do you believe that poll
·9· · · A.· No.                                                      ·9· ·watchers are allowed to carry a firearm?
10· · · Q.· And just to be clear, you've never been scared           10· · · A.· Yes.· And so am I.
11· ·away by a poll watcher, since the enactment of SB1, who         11· · · Q.· And what's the basis for that belief?· Why do you
12· ·was carrying a firearm, right?                                  12· ·think that?
13· · · A.· Well, I've never experienced that, so I wouldn't         13· · · A.· Because of the ruling that you can carry a
14· ·know.                                                           14· ·weapon.
15· · · Q.· You've never seen somebody -- a poll watcher with        15· · · Q.· Okay.· I'm going to introduce our final exhibit
16· ·a firearm; is that right?                                       16· ·of the day.· Exhibit No. 12 -- I'll mark this as
17· · · A.· No.                                                      17· ·Exhibit No. 12.
18· · · Q.· Okay.                                                    18· · · · · · · ·(Exhibit 12 marked.)
19· · · A.· And the statement behind that is related to the          19· · · Q.· (BY MR. HERBERT)· So this is a copy of an
20· ·no-permit requirement for concealed weapons, so that was        20· ·election advisory issued by the Texas Secretary of State
21· ·also something that came to light this year.                    21· ·on September 21st, 2018.· At the top of the page, it
22· · · Q.· Okay.· Why do you believe that poll watchers may         22· ·reads, quote, "Election Advisory, No. 2018-29."
23· ·have a gun on them at the election polls?                       23· · · · · Do you see that?
24· · · A.· To protect themselves in the event of an active          24· · · A.· Yes.
25· ·shooter.                                                        25· · · Q.· Okay.· And at the top of the page, it shows that


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     Case
      Case5:21-cv-00844-XR
           5:21-cv-00844-XR Document 800-11
                                     810-5 Filed 10/20/23
                                                 10/12/23 Page
                                                           Page35
                                                                23ofof39
                                                                       25
Nancy Crowther                                                                                                  June 17, 2022
                                                                                                             Pages 126 to 129
                                                         Page 126                                                           Page 128
·1· ·this is from Keith Ingram, the director of elections.          ·1· · · Q.· Okay.· And if the Texas legislature required that
·2· · · · · Did I represent that accurately?                        ·2· ·for a poll watcher to serve as a poll watcher, he or she
·3· · · A.· Yes.                                                    ·3· ·would have to present a certificate and sign an oath
·4· · · Q.· And the subject line reads, "Handguns in polling        ·4· ·swearing that they would not disrupt the electoral
·5· ·places," in parentheses, "KP-0212."                            ·5· ·process, would that be a good thing?
·6· · · · · Did I read that correctly?                              ·6· · · A.· Only if it's a note that says under penalty of --
·7· · · A.· Yes.                                                    ·7· ·but yes.
·8· · · Q.· Okay.· The third page -- if you would look to the       ·8· · · Q.· Okay.· Let's talk about -- let's talk about your
·9· ·third page, you see there is a subject header in the           ·9· ·communication.· Let's talk about your talk.· Let's talk
10· ·middle of the page that reads, "General prohibition of         10· ·about your communications about Senate Bill 1.
11· ·firearms in polling place."                                    11· · · · · Have you spoken with any Texas election officials
12· · · · · Did I read that correctly?                              12· ·about SB1?
13· · · A.· Yes.                                                    13· · · A.· Yes.
14· · · Q.· Okay.· The first two sentences of that first            14· · · Q.· Who?
15· ·paragraph of that section reads as follows:                    15· · · A.· Let's see -- to be honest, I don't remember all
16· ·"Section 46.03(a) of the Texas Penal Code generally            16· ·who I have spoken with, but I didn't make a number of
17· ·prohibits a person from bringing a firearm onto the            17· ·calls to the capital.
18· ·premises of a polling place.· In addition to the               18· · · Q.· I'm sorry, could you repeat that for me?· You did
19· ·circumstances described above, this prohibition does not       19· ·or did not?
20· ·apply to a peace officer, regardless of whether the            20· · · A.· I did.
21· ·peace office is on or off duty."                               21· · · Q.· Okay.
22· · · · · Did I read that correctly?                              22· · · A.· And I actually didn't get to speak with the
23· · · A.· Yes.                                                    23· ·legislators.· I spoke with their aides, primarily.
24· · · Q.· Okay.· So you would agree that, unless you're a         24· · · Q.· And when was this?
25· ·peace officer, you actually may not carry a firearm at         25· · · A.· Prior to the SB1 going into law.

                                                        Page 127                                                             Page 129
·1· ·the polls; is that right?                                      ·1· · · Q.· Okay.· And do you remember which legislative
·2· · · A.· This was done in 2018, and the law that went into       ·2· ·aides or which legislators' offices you contacted?
·3· ·effect recently says you can carry a gun.                      ·3· · · A.· No.· It's been a little while.
·4· · · Q.· Okay.· So you believe that Texas's constitutional       ·4· · · Q.· What were those conversations like?· What did the
·5· ·carry law overrides this prohibition of firearms; is           ·5· ·legislator aides say in those conversations?
·6· ·that right?                                                    ·6· · · A.· To paraphrase, they understood our concerns -- my
·7· · · A.· That would be my understanding.                         ·7· ·concerns, and they'll speak with the senator or
·8· · · Q.· But that would have nothing to do with                  ·8· ·legislator regarding my concerns and pass them along.
·9· ·Senate Bill 1, right?· It would have to do with the            ·9· ·And that was basically what everybody said, which is
10· ·constitutional carry law, right?· In other words -- I          10· ·consistent with questions or concerns I've brought
11· ·can rephrase that.                                             11· ·before other legislators.
12· · · · · So you do not believe that Senate Bill 1 permits        12· · · Q.· And did anybody say anything different than that,
13· ·the carrying of firearms; you believe that                     13· ·or that's what everybody said?
14· ·constitutional carry is what permits the carrying of           14· · · A.· Yeah.
15· ·firearms by poll watchers, right?· I can rephrase it           15· · · Q.· Okay.· Did you talk to anybody from the office of
16· ·again if you'd like.                                           16· ·the Texas Secretary of State about Senate Bill 1?
17· · · A.· I can't even --                                         17· · · A.· No.
18· · · Q.· Sure, sorry.                                            18· · · Q.· Did you speak with any county officials about
19· · · A.· Yeah, I can't even answer that question.                19· ·SB1?
20· · · Q.· That's okay.                                            20· · · A.· I don't recall speaking to any county officials.
21· · · · · If Senate Bill 1 had a provision that allows for        21· · · Q.· Did you write your House member or your senator?
22· ·law enforcement to remove a poll watcher who is                22· · · A.· No.
23· ·committing a breach of the peace or any other violation        23· · · Q.· Did you speak to anybody from the office of the
24· ·of law, would that be a good thing?                            24· ·governor?
25· · · A.· Yes.                                                    25· · · A.· No.


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     Case
      Case5:21-cv-00844-XR
           5:21-cv-00844-XR Document 800-11
                                     810-5 Filed 10/20/23
                                                 10/12/23 Page
                                                           Page36
                                                                24ofof39
                                                                       25
Nancy Crowther                                                                                                    June 17, 2022
                                                                                                               Pages 130 to 133
                                                        Page 130                                                               Page 132
·1· · · Q.· What about the office of the lieutenant                  ·1· · · A.· Mayoral and Democratic or Senate positions, and
·2· ·governor --                                                     ·2· ·now gubernatorial.
·3· · · A.· No.                                                      ·3· · · Q.· Have those all been Democratic campaigns?
·4· · · Q.· Did you speak to anybody from the office of the          ·4· · · A.· No.
·5· ·lieutenant governor?                                            ·5· · · Q.· Have you ever -- have you ever worked for or
·6· · · · · Did you -- did you testify before the adoption of        ·6· ·volunteered for any political campaigns?
·7· ·SB1 in front of the legislature?                                ·7· · · A.· Yes.
·8· · · A.· No, I did not.                                           ·8· · · Q.· Which ones?
·9· · · Q.· Could you describe to me your involvement in the         ·9· · · A.· The Lightrail Project Connect.· So many of the
10· ·political process leading up to the enactment and               10· ·city ones -- mostly municipal ones.· And just voting --
11· ·signing into law of Senate Bill 1?                              11· ·promoting voting.
12· · · A.· Let's see.· I know we passed along a lot of              12· · · Q.· So, just a few more questions, I think.· We might
13· ·information online, and how to contact your legislators         13· ·be able to wrap up early and get out -- well, not early,
14· ·with any concerns or non-concerns.· I do know that -- I         14· ·but we might be able to wrap up soon.
15· ·think I watched legislation online on a few of the              15· · · · · You had mentioned that one of your concerns about
16· ·hearings.                                                       16· ·SB1 was that if you're voting by mail you have to prove
17· · · · · But I think that was -- a lot of work we did was         17· ·that you're disabled; is that right?
18· ·just promoting the information that was going out and           18· · · A.· Well, that's just on the mail-in ballot, period.
19· ·when the hearings were and such.                                19· · · Q.· Okay.· If you did not have to prove that you were
20· · · Q.· Did you do anything else to make sure your voice         20· ·disabled but could simply attest to your being disabled
21· ·was heard when SB1 was being considered?                        21· ·for an application to vote my mail, would that be
22· · · A.· I'm sure I signed a few petitions.· I'm sure I           22· ·better?
23· ·did those group letters to legislators, but I can't tell        23· · · A.· I -- personally, I don't know why you would have
24· ·you when, but I know I did some work on it.· Generally          24· ·to say you have a disability.· If you want an absentee
25· ·speaking, my -- I would have electronic testimony               25· ·ballot, you should be able to get one if you're going to

                                                          Page 131                                                           Page 133
·1· ·provided or sign on to a letter related to the position         ·1· ·be absent or you want to vote by mail.· It should not be
·2· ·of one of my groups.                                            ·2· ·related to a person's disability.
·3· · · Q.· Do you have a rough sense for how many of those          ·3· · · Q.· So your belief is that before SB1, after SB1, you
·4· ·letters there were?                                             ·4· ·could -- any voter who is eligible to vote should be
·5· · · A.· No.                                                      ·5· ·able to vote by mail, no matter what; is that right?
·6· · · Q.· Okay.· That's all right.· And I don't think I            ·6· · · A.· Not no matter what.
·7· ·asked you this, but are you affiliated with a political         ·7· · · Q.· Okay.· Let me clarify, I'm sorry.
·8· ·party?                                                          ·8· · · A.· But not based on their disability --
·9· · · A.· As in -- as in --                                        ·9· · · Q.· Okay.· So you --
10· · · Q.· Are you a member or affiliated with a political          10· · · A.· -- or lack thereof.
11· ·party?                                                          11· · · Q.· So then -- so then, what should the criteria be
12· · · A.· How do I vote?· Is that the question?                    12· ·for somebody to vote by mail?
13· · · Q.· No.· Are you a member of any political party?            13· · · A.· They need to vote by mail for any other reason.
14· · · A.· The Democratic party.· Am I?                             14· · · Q.· And disability is not one of those reasons?
15· · · Q.· And --                                                   15· · · A.· It could be.· But so could work, travel,
16· · · A.· If that's what you wanted.                               16· ·everything else.· A disability is getting a little
17· · · Q.· Well, I'm -- only if that's the case.                    17· ·personal.
18· · · A.· I was like, party?                                       18· · · Q.· So it's your issue -- strike that --
19· · · Q.· Are you a member of the Democratic party, or are         19· · · · · So your concern is more that you have to specify
20· ·you --                                                          20· ·why you need to vote by mail; is that right?
21· · · A.· I am a democrat.                                         21· · · A.· Yes.
22· · · Q.· Okay.· And have you ever donated to political            22· · · Q.· Okay.· You don't believe that the Texas
23· ·campaigns?                                                      23· ·legislature engaged in intentional discrimination when
24· · · A.· Yes, I have.                                             24· ·it passed Senate Bill 1, do you?
25· · · Q.· Which campaigns; do you remember?                        25· · · A.· That's a loaded question.· I believe the intent

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210-697-3400                                                                                                   210-697-3408               YVer1f
     Case
      Case5:21-cv-00844-XR
           5:21-cv-00844-XR Document 800-11
                                     810-5 Filed 10/20/23
                                                 10/12/23 Page
                                                           Page37
                                                                25ofof39
                                                                       25
Nancy Crowther                                                                                                    June 17, 2022
                                                                                                               Pages 134 to 137
                                                           Page 134                                                            Page 136
·1· ·was to change the law to make it more difficult for              ·1· · · Q.· Okay.· Did you speak to any -- strike that --
·2· ·different groups to be able to vote by mail.                     ·2· · · · · Nothing in Senate Bill 1 expressly mentions race
·3· · · Q.· Sorry, I'm just going to object as nonresponsive,         ·3· ·as far as you're aware; is that right?
·4· ·just because I'm not sure that I'm following here, and I         ·4· · · A.· Huh-uh.· I'm sorry.· No, not that I recall.
·5· ·think my question is just a little bit different -- and          ·5· · · Q.· And nothing in Senate Bill 1, as far as you're
·6· ·please correct me if I'm wrong, but you do not believe           ·6· ·aware of, expressly mentions -- strike that --
·7· ·that the Texas legislature, in passing SB1,                      ·7· · · · · To reiterate, you did not talk to anyone from the
·8· ·intentionally discriminated, correct?                            ·8· ·secretary of state's office about SB1, correct?
·9· · · A.· The way you're saying it is kind of confusing me.         ·9· · · A.· Correct.
10· ·You have a double negative in there.                             10· · · Q.· So you're belief about Texas's discriminatory
11· · · Q.· Okay.· Let me rephrase that.                              11· ·intent is not informed by any conversation with the
12· · · · · When the Texas legislature passed SB1, you would          12· ·Secretary of State's Office, right?
13· ·agree that they were not intentionally discriminating,           13· · · A.· Right.
14· ·correct?                                                         14· · · Q.· And, again, to reiterate, you did not talk to any
15· · · A.· Not correct.                                              15· ·House members about SB1, correct?
16· · · Q.· You do believe that the Texas legislature was             16· · · A.· Correct.
17· ·intentionally discriminating; is that right?                     17· · · Q.· So your reason for believing that SB1 is
18· · · A.· Yes.                                                      18· ·intentionally discriminatory does not have to do with
19· · · Q.· Okay.· What is the basis for that belief?                 19· ·conversations that you had with House members; is that
20· · · A.· The limitations placed on the mail-in ballot, the         20· ·right?
21· ·restrictions at the polls.                                       21· · · A.· That would be correct.
22· · · Q.· Anything else?                                            22· · · Q.· And it's not based on any statements that members
23· · · A.· The certification under penalty of law that was           23· ·of the Texas House made; is that right?
24· ·added into the statement.                                        24· · · A.· No.
25· · · Q.· The oath statement?                                       25· · · Q.· And you did not talk to any members of the Texas

                                                        Page 135                                                              Page 137
·1· · · A.· The oath.                                                 ·1· ·Senate about SB 1, right?
·2· · · Q.· Anything else?                                            ·2· · · A.· Correct.
·3· · · A.· That's all I can think of.                                ·3· · · Q.· And so your reason for believing that the Texas
·4· · · Q.· Okay.· So it would be fair to say, then, that             ·4· ·legislature was intentionally discriminatory in passing
·5· ·your reason for believing that the Texas legislature was         ·5· ·SB 1, that has nothing to do with any conversations or
·6· ·initially discriminating is from Senate Bill 1 itself,           ·6· ·statements by Texas senators; is that right?
·7· ·the language of Senate Bill 1 itself; is that right?             ·7· · · A.· It's the production of the law that indicates to
·8· · · A.· Yes.                                                      ·8· ·me that it was a discriminatory act based on my
·9· · · Q.· Okay.· Do you have any other reason to believe            ·9· ·experience with previous voting laws.
10· ·that the Texas legislature acted intentionally                   10· · · Q.· So to be clear, not based on a conversation you
11· ·discriminatory?                                                  11· ·had with a Texas senator or a statement that a Texas
12· · · A.· Any other reason to believe that they acted               12· ·senator made?
13· ·discriminatory?· I would only have to say that it's been         13· · · A.· No.
14· ·my experience that I've seen over the years as I                 14· · · Q.· And --
15· ·participated in various other bills that were designed.          15· · · A.· By following the law.
16· · · Q.· Okay.· But to be clear, I'm talking about                 16· · · Q.· And not based on any conversations that you had
17· ·Senate Bill 1.                                                   17· ·with the office of the governor or any statements by the
18· · · · · So are you saying that -- are you saying that             18· ·office of the governor?
19· ·your basis for believing that the Texas legislature was          19· · · A.· No.
20· ·intentionally discriminating when it passed SB1 --               20· · · Q.· And not based on any conversations you had with
21· · · A.· Yes.                                                      21· ·the lieutenant governor or any statements by the
22· · · Q.· -- is solely based on the Texas Senate Bill 1             22· ·lieutenant governor, right?
23· ·itself, as well as the Texas legislature's previous laws         23· · · A.· Correct.
24· ·that were unrelated to Senate Bill 1?                            24· · · Q.· Okay.· Let's take a five-minute break.· I think
25· · · A.· Yes.                                                      25· ·I'm about done, but I just want to check my notes, if


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